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  5
    Attorneys for Creditor Grachuy Arutyunyan as trustee for Arutyunyan Living Trust
  6

  7

  8                             UNITED STATES BANKRUPTCY COURT
  9                CENTRAL DISTRICT OF CALIFORNIA- LOS ANGELES DIVISION
 10
      In re                                              Case No. 2:20-bk-15381-SK
 11
                                                         Chapter 13
 12
      ANAHIT HARUTYUNYAN,                                SUPPLEMENTAL OBJECTION TO
 13                                                      CONFIRMATION OF CHAPTER 13 CASE;
                     Debtor                              DECLARATIONS AND REQUEST FOR
 14                                                      JUDICIAL NOTICE
 15                                                      Time: March 4, 2021
                                                         Date: 8:30 a.m.
 16                                                      Courtroom: 1575
                                                         Location: 255 E. Temple Street
 17                                                      Los Angeles CA 90012
 18
              TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
 19
      JUDGE; DEBTOR AND DEBTOR’S COUNSEL; KATHY DOCKERY CHAPTER 13
 20
      TRUSTEE, AND OTHER PARTIES IN INTEREST:
 21
              Grachuy Arutyunyan as trustee for the Arutyunyan Living Trust (“Arutyunyan”) a junior
 22
      lien holder on the real estate located at 10366 Ormond Avenue Sunland, California 91040 (“Real
 23
      Property”) files this supplemental objection to confirmation of the chapter 13 case (“Case”) of
 24
      Anahit Harutyunyan (“Debtor”) on the following grounds:
 25
      //
 26
      //
 27
      //
 28

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  1                                                    I.

  2                                          INTRODUCTION

  3          The Debtor is not eligible to be a chapter 13 debtor for two reasons. First, the Debtor

  4 misrepresented facts and/or withheld information from the Court regarding her Real Property to

  5 manipulate the value on a lien avoidance motions. Therefore, this Debtor is not a member of the

  6 “honest but unfortunate” class entitled to the benefits and privileges of a Chapter 13 bankruptcy

  7 case Marrama v. Citizens Bank, 549 U.S. 365, 374 (2007) (citation omitted). The Debtor cannot be

  8 trusted to be in possession of assets of the bankruptcy estate.
  9          Second, the Debtor is not eligible to be a chapter 13 debtor because she does not have regular
 10 income as required under 11 U.S.C. §109(e).

 11                                                         II.
 12                                                    FACTS

 13      1. On August 21, 2018, the Debtor obtained an appraisal for the Real Estate valuing the Real

 14          Estate at $915,000 (“2018 Value”). The appraisal which was obtained through a subpoena

 15          is attached to the Declaration of Sevan Gorginian as Exhibit “1.” The appraisal at page 3

 16          states that “Bathrooms remodeled less than a year ago. The subject property is

 17          improved with 2bd/1bath dwelling with 2 car built in garage and a partial basement.

 18          Per owner they are planning to pull permits to finish this area as a bedroom or den

 19          w/full bathroom. … After the last transfer the subject property underwent a major

 20          remodeling and upgrades through the place.” Further, at page 23 of the appraisal, photos

 21          demonstrate that as of August 21, 2018, the basement was not completed.

 22      2. No such permits were ever obtained, yet the addition was completed. A true and correct of

 23          the report prepared by L.T.H. Design and Construction is attached to the Declaration of

 24          Levon Halulyan as Exhibit “A”. The report was prepared as a result of an inspection on

 25          September 17, 2020. The report discusses several illegal additions. Further, Mr. Halulyan

 26          reviewed the Los Angeles Register of Permits for the Property and no permits were obtained

 27          since August 14, 2003. As such, the work that was performed by the Debtor was without

 28          permits and without approval by the authorized governmental agencies. The issues with the

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  1           structural problems with the addition were self-created by the Debtor. At the time of the

  2           inspection, the Debtor informed Halulyan that they did the additions. The additions were

  3           done in the hillside area. They are illegal and must be torn down. The cost to do so is

  4           approximately $23,000.

  5      3. From March 11, 2020 to June 12, 2020, the Real Property was listed for sale for $799,000.00

  6           (“Pre-Petition List Value”).

  7      4. On March 14, 2020, Debtor received an offer for the Real Property for $880,000. .Dkt 52-1.

  8           Exhibit “1” (“Petrosian Offer”).
  9      5. On May 19, 2020, after the Petrosian Offer was withdrawn, the Debtor accepted another
 10           offer for $900,000.00 (“Asatryan Offer”).
 11      6. The Debtor filed for Chapter 13 relief on June 15, 2020 (“Petition Date”), Dkt No. 1.
 12      7. On June 23, 2020 the Debtor filed the schedules, Dkt No. 11.
 13      8. The Debtor’s schedule B and C lists the Real Property with a value of $600,000.00.
 14           (“Petition Value”).
 15      9.   The Debtor’s schedule I and J (“Budget Schedules”) Dkt No. 11 Pg 19 and statement of
 16           financial affairs reference a transportation business called Arm Trans (“Arm Trans”)
 17           headquartered at the Real Property. Dkt No. 11 Pg 29.
 18      10. The Budget Schedules state that the Debtor is the “bookkeeper” and the non-filing spouse

 19           (the “Husband”) is the driver for Arm Trans. Dkt No. 11 Pg 19.

 20      11. Arm Trans is not listed on schedule B or C nor are any vehicles disclosed for Arm Trans.

 21           Dkt No. 11 Pg 8.

 22      12. The United States Department of Transportation (“USDOT”) “Safer Web Company

 23           Snapshot” (“Snapshot”) attached as Exhibit “1” to the Declaration of Stella Havkin shows

 24           that the Husband and the DBA Arm Trans are no longer authorized to operate under the

 25           USDOT number (“USDOT Number”). The Snapshot also shows that insurance that is in

 26           the process of being canceled.

 27      13. On December 10, 2019, the Debtor and Husband separated. See, page 1 of Exhibit “1” to

 28           the Request for Judicial Notice. On August 3, 2020, the Husband filed for divorce from the

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  1          Debtor in Los Angeles Superior Court Case No. 20PDFL01098. At no time since the filing

  2          of the instant case has the Debtor filed amended schedules to reflect that she is separated

  3          from Husband or that the Husband has a separate household with the income for the

  4          household being different than disclosed in the schedules. Husband lives in Michigan.

  5      14. Husband is the subject of a forfeiture action by the State of Ohio. A true and correct copy

  6          of the complaint for forfeiture is attached to the Request for Judicial Notice as Exhibit “2.”

  7          The action was pending within a year of the filing of the petition. Yet, the Debtor failed to

  8          disclose in the Statement of Financial Affairs legal proceedings that her Husband was a party
  9          to. Forfeitures would affect the Debtor’s ability to perform under any plan. However, she
 10          failed to disclose such an important fact.
 11      15. On August 3, 2020, Kathy Dockery the Chapter 13 Trustee (“Trustee”) filed an objection
 12          (“Objection”) to the confirmation of the Debtor’s plan Dkt No. 23 requesting proof of
 13          income and compliance documents for Arm Trans including proof of insurance and licenses.
 14          Objection Item No. 5.
 15      16. On August 28, 2020, The Debtor filed motions to avoid liens including Arutyunyan. Dkt
 16          Nos. 26,27,28 (Together referred to herein as the “Lien Avoidance Motion”).
 17      17. The Lien Avoidance Motion included a declaration and appraisal from an appraiser named
 18          Michael Ford (“Ford”) valuing the Real Property at $410,000.00 (“Ford Value”).

 19      18. The Lien Avoidance included a declaration from Dylan Peterson (“Peterson”) listing a non-

 20          existent structural engineering license. Dkt No. 77 Pg. 3. The evidence attached to the

 21          Peterson declaration included a price quote (“Quote”) which stated “the most extensive

 22          indication of foundation failure are seen in the addition” (emphasis added) (“Addition”).

 23          Dkt No. 26 Exhibit E Pg 34. The Quote noted that the Addition was “….recently patched.”

 24          Dkt No. 26 Exhibit E Pg 34. The Quote described the foundation of the Addition as follows:

 25          “From the exterior the foundation of the addition appears to be nothing more than CMU

 26          blocking” (emphasis added) Dkt No. 26 Exhibit E Pg 34.

 27      19. Creditors filed oppositions to the Lien Avoidance Motion with valuations at $975,000.00.

 28          Dkt No.65 (“Landon Value”) and $930,000 Dkt No.64 (“Masterson Value”).

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  1         20. The Creditors and the Debtor agreed to an independent third-party appraiser (“Third-Party”)

  2            whose appraisal was $900,000. (“Third Party Value”).

  3         21. Debtor objected to the Third-Party Value on various grounds (“Supplemental”) including

  4            alleged failure of the Third-Party to take the foundational issues into account. Dkt. No. 87

  5            Pg. 2.

  6                                                         III.

  7                                                  ARGUMENT

  8    A.       THE DEBTOR HAS NO EVIDENCE INDICATING REGULAR INCOME TO BE
  9                                       A CHAPTER 13 DEBTOR.

 10            11 U.S.C. § 109(e) states “Only an individual with regular income…. may be a debtor under

 11 chapter 13 of this title.” An individual with regular income is defined under 11 U.S.C. §101(30)

 12 “means an individual whose income is sufficiently stable and regular” to make plan payments. The

 13 Budget Schedules list Arm Trans as an employer and the Debtor is a “bookkeeper”. Yet, the

 14 Husband has filed for divorce. Further, California is one of the states in the union that requires a

 15 valid USDOT Number to conduct an intra state transportation business. See. FEDERAL MOTOR

 16 CARRIER          SAFETY      ADMINISTRATION       “DO          I   NEED   A    USDOT        NUMBER?”

 17 https://www.fmcsa.dot.gov/registration/do-i-need-usdot-number (last updated December 31, 2020).

 18 A true and correct copy of the printout from the FMCSA website is attached to the Havkin

 19 Declaration as Exhibit “2.” Arm Trans and the Husband are no longer authorized to conduct

 20 business with the USDOT number and as seen on Snapshot there is a pending cancelation of

 21 insurance. Without an operating business, the Debtor has no income to commit to a Chapter 13

 22 plan. Further, according to the Debtor’s schedules, Arm Trans has no vehicles or assets.

 23            The Chapter 13 Trustee has requested numerous documents including a business report,

 24 profit and loss statements, evidence of insurance, and licenses. The Debtor will be unable to provide

 25 these documents since the Husband is no longer authorized to conduct this business. The Debtor’s

 26 tax returns mention rental income which does not exist on the Budget Schedules. See Objection

 27 page 5. To date no amendments to the schedules have been made, nor has the Objection been

 28 withdrawn. The Husband filed divorce after the Petition Date and Budget Schedules show that the

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  1 Debtor is dependent entirely on the Husband’s income as the employer. The Husband lives in

  2 Michigan. See, Exhibit “1” to the Request for Judicial Notice. The Debtor has not disclosed this

  3 fact to the Court. Without the Husband she has no income. Therefore, the Debtor does not qualify

  4 as a Chapter 13 Debtor.

  5      B.      MISREPRESENTING THE NATURE AND EXTENT OF FOUNDATIONAL

  6    DEFECTS TO MANIPULATE VALUE ON THE LIEN AVOIDANCE MOTION IS BAD

  7                                         FAITH CONDUCT.

  8           The Debtor not only misrepresented Peterson’s credentials Dkt 26 pg 9 ¶ 1 (no structural
  9 engineering license), but also the nature and extent of the “structural and foundational defects

 10 present at the [Real Property]” Dkt 26 pg 9 ¶ 3 (“Defects”). Three days passed between the Debtor’s

 11 own Pre-Petition List Value and the Petition Value resulting in a $199,000 decrease in value. As

 12 stated in Arutyunyan’s reply to the Supplemental, the price drop describes the Real Property value

 13 as if the Real Property was “the victim of multiple explosions only days before the Petition Date”

 14 Dkt No. 91 pg 6 line 4. Now we know that the Debtor created explosions came in the form of

 15 Addition built illegally without permits, without City permission and not up to code.

 16           This Addition was presented to the Court as if it was structural problems existing with the
 17 Main Property, the one built with permission and up to code. The Debtor’s declaration attached to

 18 the Lien Avoidance Motion was silent about the recently added, patched and illegal Addition,

 19 merely that the seller “found” defects. Docket Pg 7 ¶6. Notwithstanding these “defects” the Debtor

 20 chose to relist the Real Property and then the buyer “found” these defects. Docket Pg 7 ¶7. The

 21 Peterson Declaration is silent about an Addition and lack of permits. Only the fine print in the Lien

 22 Avoidance Motion Exhibit E hints that the “most extensive indication of foundational failure are

 23 seen in the [Addition]”. Only after a very close examination of the picture on the right-hand side of

 24 page 36 Exhibit “E” can one see the Addition. The Court and creditors are expected to play hide and

 25 seek and “Where’s Waldo” with the evidence.

 26       C.       THIS COURT HAS DISCRETION TO DENY CONFIRMATION AND TO

 27              CONVERT THIS CASE TO CHAPTER 7 RATHER THAN DISMISS.

 28           Although “bad faith” is not one of the enumerated reasons for dismissal or conversion under

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  1 11 U.S.C. § 1307(c), federal courts are nearly unanimous in stating that pre-petition bad faith

  2 conduct can constitute a reason for dismissal or conversion including the Ninth Circuit See,

  3 Marrama at 367 (2007). Bad faith is to be determined on case-by-case basis “considering the

  4 particular features of each Chapter 13 plan.” In re Blendheim, 803 F.3d 477, 499 (9th Cir 2015)

  5 (internal citation omitted) utilizing a totality of the circumstances test considering four factors:

  6
                (1) whether the debtor misrepresented facts in his petition or plan,
  7             unfairly manipulated the Bankruptcy Code, or otherwise filed his
  8             Chapter 13 petition or plan in an inequitable manner;
                (2) the debtor’s history of filings and dismissals;
  9             (3) whether the debtor only intended to defeat state court litigation;
                and
 10             (4) whether egregious behavior is present.
             Blendheim at 499 (citations omitted)
 11

 12 Examples of “egregious behavior” as set forth in In re Tomlin, 105 F.3d 933, 937 (4th Cir 1997)

 13 Cited by In re Leavitt, 171 F.3d 1219, 1224 (9th Cir 1999)           could include the concealing of
 14 information from the bankruptcy court, See, In re Martin-Trigona 35 B.R. 596, 602 (Bankr S.D.N.Y

 15 1983) Cited in Tomlin at 937. The Debtor complained that the Third Party did not take the Defects

 16 into account in their appraisal as if those Defects belonged to the foundation of the main structure,

 17 when in fact the Defects were a product of the Addition created by the Debtor by failing to comply

 18 with laws which require permits and inspection by City officials. The Debtor’s own 2018 Value

 19 was half a million dollars more than the Ford Value and this is because of the Addition. The Quote

 20 for the work was to bring the Addition up to code not the make the main structure habitable.

 21 Creditors should not be made to pay for an illegal Addition and for misrepresentations made to the

 22 Court.

 23          Once bad faith is found, the Court has discretion to convert the Case even if the Debtor was
 24 to now request dismissal. In re Rosson 545 F.3d 764, 777 (9th Cir 2008) (bankruptcy courts have

 25 discretion to convert rather than dismiss a chapter 13 notwithstanding debtor preferences); In re

 26 Jacobsen 609 F.3d 647, 653 (5th Cir 2010)(debtor’s absolute right to dismissal can be defeated with

 27 a bad faith finding or abuse of process resulting in conversion).

 28          Given the lengths to which the Debtor has gone to deceive parties and this Court, dismissal

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  1 would merely change the venue for the Debtor to continue the hide and seek game at the creditors’

  2 expense. A Chapter 7 trustee is better equipped to supervise and deal with parties such as the Debtor.

  3 This deception required a tremendous amount of effort and expense and it maybe that the Chapter

  4 7 Trustee may also fail in controlling the Debtor, but at that point it would be clear to the Court that

  5 the Debtor is not entitled to a discharge. In this case, the reaction of Debtor’s counsel to presenting

  6 a misrepresentation to the Court was that the objection was “too late” not that the allegation was

  7 incorrect. Dkt No. 77 Page 3.

  8                                                    IV.
  9                                             CONCLUSION

 10          WHEREFORE, Arutunyan respectfully requests that the Court enter an order:

 11          1. Denying confirmation of the Chapter 13 case;

 12          2. Alternatively, converting the Case to Chapter 7 so that a Chapter 7 Trustee can relieve

 13              the investigative burden currently on the creditors.

 14          3. Granting such other and further relief as this Court may deem just and proper.

 15
      DATED: February 19, 2021                 Respectfully submitted,
 16

 17                                            Havkin & Shrago

 18
                                               By:
 19
                                                     Stella Havkin
 20                                                  Attorney for Secured Creditor Arutunyan

 21

 22

 23

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  1                              DECLARATION OF STELLA HAVKIN

  2 I, Stella Havkin, declare,

  3          1.     I am an attorney at law, duly licensed to practice before the Central District of

  4 California, and am counsel for Grachuy Arutyunyan as trustee for the Arutyunyan Living Trust

  5 (“Arutyunyan”). I offer this declaration (“Declaration”) in support of Arutyunyan’s motion to

  6 convert (“Motion”) to the above titled debtor’s (“Debtor”) Chapter 13 case to Chapter 7 case. I have

  7 personal knowledge of the facts stated herein. Unless otherwise noted, capitalized terms referenced

  8 in this declaration have the same meaning as those set forth in the Application. If called and sworn

  9 as a witness, I could and would competently testify to the above.

 10          2.     Attached hereto as Exhibit “1” is a true and correct copy of the Snapshot obtained

 11 from Federal Motor Carrier Safety Administration Website on February 15, 2021.

 12          3.     Further, California is one of the states in the union that requires a valid USDOT

 13 Number to conduct an intra state transportation business. See. FEDERAL MOTOR CARRIER SAFETY

 14 ADMINISTRATION “DO I NEED A USDOT NUMBER?.” A true and correct copy of the printout from

 15 the website of FMCSA is attached hereto as Exhibit “2.”

 16      I declare under penalty of perjury under the laws of the United States of America and the State
 17 of California that the foregoing is true and correct. Executed this 17th day of February 2021 at

 18 Woodland Hills, California.

 19
                                                                            Stella Havkin
 20

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      Motion to Convert ----Page 9
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                                EXHIBIT 1
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                     USDOT Number                   MC/MX Number                 Name
                                                                                                                                      Company Snapshot
                         Enter Value: 1556809
                                                                                                                                            BARIS BABASYAN
                                                Search                                                                                  USDOT Number: 1556809

  ID/Operations | Inspections/Crashes In US | Inspections/Crashes In Canada | Safety Rating
                                                                                                                                             Other Information for this
  Carriers: If you would like to update the following ID/Operations information, please complete and submit form MCS-150 which can                    Carrier
  be obtained online or from your State FMCSA office. If you would like to challenge the accuracy of your company's safety data, you
  can do so using FMCSA's DataQs system.                                                                                                      SMS Results
                                                                                                                                           Licensing & Insurance
  Carrier and other users: FMCSA provides the Company Safety Profile (CSP) to motor carriers and the general public interested in
  obtaining greater detail on a particular motor carrier's safety performance then what is captured in the Company Snapshot. To obtain a CSP please visit the CSP
  order page or call (800)832-5660 or (703)280-4001 (Fee Required).

  For help on the explanation of individual data fields, click on any field name or for help of a general nature go to SAFER General Help.

  The information below reflects the content of the FMCSA management information systems as of 02/14/2021.

  To find out if this entity has a pending insurance cancellation, please click here.


                                       Entity Type: CARRIER

                                 Operating Status: NOT AUTHORIZED                                    Out of Service Date: None

                                      Legal Name: BARIS BABASYAN

                                       DBA Name:       ARM TRANS

                                 Physical Address:     10366 ORMOND ST
                                                       SHALOW HILLS, CA 91040

                                            Phone: (313) 753-9407

                                  Mailing Address: 10366 ORMOND ST
                                                   SHALOW HILLS, CA 91040

                                  USDOT Number:        1556809                                State Carrier ID Number:

                             MC/MX/FF Number(s): MC-577804                                               DUNS Number:      --


                                      Power Units: 1                                                            Drivers:   1
                               MCS-150 Form Date:      07/29/2020                              MCS-150 Mileage (Year):     1 (2019)
                           Operation Classification:


                                                         X   Auth. For Hire        Priv. Pass.(Non-         State Gov't
                                                             Exempt For Hire       business)                Local Gov't
                                                             Private(Property)     Migrant                  Indian Nation
                                                             Priv. Pass.           U.S. Mail
                                                             (Business)            Fed. Gov't

                           Carrier Operation:


                                                              X   Interstate       Intrastate Only         Intrastate Only
                                                                                   (HM)                    (Non-HM)

                           Cargo Carried:


                                                X   General Freight              Liquids/Gases                 Chemicals
                                                    Household Goods              Intermodal Cont.              Commodities Dry Bulk
                                                    Metal: sheets, coils,        Passengers                    Refrigerated Food
                                                    rolls                        Oilfield                      Beverages
                                                    Motor Vehicles               Equipment                     Paper Products
                                                    Drive/Tow away               Livestock                     Utilities
                                                    Logs, Poles, Beams,          Grain, Feed, Hay              Agricultural/Farm
                                                    Lumber                       Coal/Coke                     Supplies
                                                    Building Materials           Meat                          Construction
                                                    Mobile Homes                 Garbage/Refuse                Water Well
                                                    Machinery, Large             US Mail
                                                    Objects
                                                    Fresh Produce




https://safer.fmcsa.dot.gov/query.asp?searchtype=ANY&query_type=queryCarrierSnapshot&query_param=USDOT&query_string=1556809                                               1/3
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                      ID/Operations | Inspections/Crashes In US | Inspections/Crashes In Canada | Safety Rating

                                                          US Inspection results for 24 months prior to: 02/14/2021

                                                                        Total Inspections: 0
                                                                      Total IEP Inspections: 0
             Note: Total inspections may be less than the sum of vehicle, driver, and hazmat inspections. Go to Inspections Help for further information.

                                                                                      Inspections:
                                   Inspection Type               Vehicle                 Driver                     Hazmat                      IEP
                                       Inspections                 0                       0                          0                          0
                                    Out of Service                 0                       0                          0                          0
                                  Out of Service %                 0%                     0%                         0%                         0%
                                   Nat'l Average %
                            as of DATE 01/29/2021*              20.71%                  5.19%                       4.44%                       N/A

                   *OOS rates calculated based on the most recent 24 months of inspection data per the latest monthly SAFER Snapshot.



                                               Crashes reported to FMCSA by states for 24 months prior to: 02/14/2021

               Note: Crashes listed represent a motor carrierâ€™s involvement in reportable crashes, without any determination as to responsibility.

                                                                                       Crashes:
                                              Type                Fatal                  Injury                      Tow                        Total
                                            Crashes                0                       0                          0                          0




                      ID/Operations | Inspections/Crashes In US | Inspections/Crashes In Canada | Safety Rating

                                                      Canadian Inspection results for 24 months prior to: 02/14/2021

                                                                       Total inspections: 0
                 Note: Total inspections may be less than the sum of vehicle and driver inspections. Go to Inspections Help for further information.

                                                                                      Inspections:
                                                      Inspection Type                   Vehicle                                       Driver
                                                             Inspections                   0                                            0
                                                        Out of Service                     0                                            0
                                                      Out of Service %                    0%                                           0%




                                                                Crashes results for 24 months prior to: 02/14/2021

               Note: Crashes listed represent a motor carrierâ€™s involvement in reportable crashes, without any determination as to responsibility.

                                                                                       Crashes:
                                              Type                Fatal                  Injury                      Tow                        Total
                                            Crashes                0                       0                          0                          0




                      ID/Operations | Inspections/Crashes In US | Inspections/Crashes In Canada | Safety Rating

                       The Federal safety rating does not necessarily reflect the safety of the carrier when operating in intrastate commerce.

                                                                                 Carrier Safety Rating:

                                                                   The rating below is current as of: 02/14/2021

                                                                               Review Information:


                               Rating Date:           None                                           Review Date:         None
                                  Rating:             None                                                Type:           None




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                                    1200 New Jersey Avenue SE, Washington, DC 20590 • 1-800-832-5660 • TTY: 1-800-877-8339 • Field Office Contacts




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       The latest information on the Coronavirus Disease 2019 (COVID-19) is available on coronavirus.gov.

         United States Department of Transportation




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      Getting Started
                                                         What is a USDOT Number?
      Get Authority to Operate (MC                       Companies that operate commercial vehicles transporting passengers or hauling cargo in interstate
      Number)                                            commerce must be registered with the FMCSA and must have a USDOT Number. Also, commercial
                                                         intrastate hazardous materials carriers who haul types and quantities requiring a safety permit must
      USDOT Numbers                                      register for a USDOT Number.

                                                         The USDOT Number serves as a unique identiÕer when collecting and monitoring a company's safety
      Update Registration
                                                         information acquired during audits, compliance reviews, crash investigations, and inspections. Click the
                                                         button below to access our interactive tool that will determine if you need a US DOT number:
      Insurance Filing
      Requirements


      Request PIN


      Other Services                                     You are required to obtain a USDOT number if you have a vehicle that:

                                                                Is used to transport the types and quantities of hazardous materials requiring a safety permit in
                                                                intrastate commerce (see 49 CFR 385.403).
   Related Links
                                                         OR
            Register via the UniÕed
                                                                Has a gross vehicle weight rating or gross combination weight rating, or gross vehicle weight or gross
            Registration System
                                                                combination weight, of 4,536 kg (10,001 pounds) or more, whichever is greater; or
            Get Operating Authority
                                                                Is designed or used to transport more than 8 passengers (including the driver) for compensation; or
            (MC Number)
                                                                Is designed or used to transport more than 15 passengers, including the driver, and is not used to
            Frequently Asked
                                                                transport passengers for compensation;
            Questions
            Ask a Question by Email
                                                         AND is involved in Interstate commerce:
                                                         Trade, traÞc, or transportation in the United States—

                                                                Between a place in a State and a place outside of such State (including a place outside of the United
       FMCSA Registration
                                                                States);
       Information
                                                                Between two places in a State through another State or a place outside of the United States; or
       Federal Motor Carrier                                    Between two places in a State as part of trade, traÞc, or transportation originating or terminating
       Safety Administration                                    outside the State or the United States.
       Note: Mid-day (especially
                                                         You are required by FMCSA to obtain a USDOT Numberaand comply with the Federal Regulations.
       Tuesday - Wednesday) has
       the highest call volume and                              How to Comply with Federal Regulations
       is the busiest time for the
       Contact Center. Wait times                        It is the responsibility of motor carrier operators and drivers to know and comply with all applicable Federal
       and processing times can                          Motor Carrier Safety Regulations.aSafety compliance and safe operations translate into saved lives and
       be much longer during                             protected property.a We believe the information in this package, when eàectively applied, will contribute to
       these periods.                                    safer motor carrier operations and highways.
       MC-RS
       1200 New Jersey Ave. SE,                          States that Require a DOT Number
       Room W65-206                                      Apart from federal regulations, some states require their intrastate commercial motor vehicle registrantsato
       Washington, DC 20590                              obtain a USDOT Number.aThese states include:
       United States
                                                                Alabama
       Phone: 800-832-5660                                      Alaska
       Business Hours:                                          Arizona
       8:00am-8:00pm ET, M-F                                    California
                                                                Colorado
       Social Media Links:
https://www.fmcsa.dot.gov/registration/do-i-need-usdot-number                                                                                                             1/3
2/17/2021                                                                            Do I Need a USDOT Number? | FMCSA
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       Send an Email
                                                                  Doc 112 Filed 02/19/21 Entered 02/19/21 12:47:25
                                                                Connecticut
                                                                                                                                                               Desc
       Chat with FMCSA Customer
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       Service                                                  Florida
                                                                Georgia
                                                                Idaho
                                                                Indiana
                                                                Iowa
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                                                                Kentucky
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                                                                Puerto Rico
                                                                South Carolina
                                                                Texas
                                                                Utah
                                                                Washington
                                                                West Virginia
                                                                Wisconsin
                                                                Wyoming

                                                         For intrastate motor carrier registration, check with your responsible state agency.



                                                         Last updated: Thursday, December 31, 2020




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   Federal Motor Carrier Safety Administration

   1200 NEW JERSEY AVENUE, SE

   WASHINGTON, DC 20590

   1-800-832-5660



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   Regulations                                       Speeches                                  Resources for Drivers                            Civil Rights

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   Analysis                                          Events                                    Contact Us                                       Information Quality

   Careers                                                                                                                                      No FEAR Act
   FMCSA Portal                                                                                                                                 OÞce of Inspector General

                                                                                                                                                Privacy Policy
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                                                                                                                                                Web Standards

https://www.fmcsa.dot.gov/registration/do-i-need-usdot-number                                                                                                               2/3
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                                 EXHIBIT A
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                    APPRAISAL OF REAL PROPERTY




                                             LOCATED AT
                                            10366 Ormond St
                                           Sunland, CA 91040
                                           Tract # 22714 Lot 26


                                                    FOR
                                         Golden West Alliance Inc
                                        550 N Brand Blvd, Unit 170
                                           Glendale, CA 91203




                                       OPINION OF VALUE
                                                   915,000


                                                  AS OF
                                                 08/21/2018


                                                     BY
                                          Mariam Aivazian
                                         Universal Valuation
                                       7769 Clearfield Avenue
                                     Panorama City, CA 91402
                                           (310) 775-7676
                               mariamaivazian@universalvaluations.com




                  Form GA1V LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                                   2019886
                                                        Main Document    Page 52 of 102
                                                                USPAP ADDENDUM            File No. 180804218
   Borrower            Anahit Harutyunyan
   Property Address    10366 Ormond St
   City                Sunland                                                       County Los Angeles                                      State CA          Zip Code 91040
   Lender              Golden West Alliance Inc

       This report was prepared under the following USPAP reporting option:
            Appraisal Report                            This report was prepared in accordance with USPAP Standards Rule 2-2(a).
            Restricted Appraisal Report                 This report was prepared in accordance with USPAP Standards Rule 2-2(b).




       Reasonable Exposure Time
       My opinion of a reasonable exposure time for the subject property at the market value stated in this report is:
       The home values have maintained stable state during past 12 months. The supply is balanced with demand. The exposure time with
       sufficient marketing effort & reasonable listing price is estimated in range of 1-3 months. Exposure time exists before the effective date of
       the appraisal, whereas the marketing time exists immediately after that date (USPAP Stmnt 6 & Advisory Op.7).




       Additional Certifications
       I certify that, to the best of my knowledge and belief:
            I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the
            three-year period immediately preceding acceptance of this assignment.

            I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year
            period immediately preceding acceptance of this assignment. Those services are described in the comments below.
       - The statements of fact contained in this report are true and correct.
       - The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased
       professional analyses, opinions, and conclusions.
       - Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
       involved.
       - I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
       - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
       - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of
       the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
       - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that
       were in effect at the time this report was prepared.
       - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
       - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of each
       individual providing significant real property appraisal assistance is stated elsewhere in this report).




       Additional Comments
       INTENDED USER AND INTENDED USE:The intended user of this report is Golden West Alliance Inc. The intended use of this report is
       to support the underwriting requirements for a conventional mortgage. The scope of work in this report is customized for the intended use.
       This appraisal report may be inappropriate for other uses and jeopardize the user. Therefore, regardless the means of possession of this
       report, this appraisal may not be used or relied on for any use except the stated use. The appraiser assumes no obligation, liability or
       accountability for any other third party.

       SOURCE OF MARKET VALUE DEFINITION: The market value definition is consistent with regulations published by Federal Regulatory
       agencies pursuant to Title XI of the Federal Institutions reform, recovery and enforcement act (FIRREA) of 1989.




     APPRAISER:                                                                                       SUPERVISORY APPRAISER: (only if required)


     Signature:                                                                                       Signature:
     Name: Mariam Aivazian                                                                            Name:
     Date Signed: 08/28/2018                                                                          Date Signed:
     State Certification #: AR044156                                                                  State Certification #:
     or State License #:                                                                              or State License #:
     State: CA                                                                                        State:
     Expiration Date of Certification or License: 11/06/2018                                          Expiration Date of Certification or License:
     Effective Date of Appraisal: 08/21/2018                                                          Supervisory Appraiser Inspection of Subject Property:
                                                                                                           Did Not           Exterior-only from Street        Interior and Exterior
                                                        Form ID14AP - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:20-bk-15381-SK                                                   Doc 112 Universal
                                                                                  Filed        02/19/21
                                                                                          Valuations (310) 775-7676 Entered 02/19/21 12:47:25                                                               Desc
                                                                        Main Document                  Page 53 of 102              2019886
                                                                          Uniform Residential Appraisal Report                                         File # 180804218
                The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
                Property Address 10366 Ormond St                                                                          City Sunland                                      State CA       Zip Code 91040
                Borrower Anahit Harutyunyan                                                   Owner of Public Record Anahit Harutyunyan                                     County Los Angeles
                Legal Description Tract # 22714 Lot 26
                Assessor's Parcel # 2544-039-011                                                                          Tax Year 2017                                     R.E. Taxes $ 7,256
                Neighborhood Name Sunland Area                                                                            Map Reference 503/B6                              Census Tract 1021.07
 SUBJECT


                Occupant         Owner          Tenant         Vacant                         Special Assessments $ 0                                           PUD    HOA $ 0              per year    per month
                Property Rights Appraised            Fee Simple           Leasehold            Other (describe)
                Assignment Type            Purchase Transaction              Refinance Transaction             Other (describe)
                Lender/Client     Golden West Alliance Inc                                       Address 550 N Brand Blvd, Unit 170, Glendale, CA 91203
                Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal?                    Yes        No
                Report data source(s) used, offering price(s), and date(s).            DOM 92;CRMLS#BB15019558. Listed on 11/01/16 for $649,000, reduced to $629,000 and sold
                for $594,000 on 08/08/17. This was a short sale listing subject to lender's approval.
                I      did  did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
                performed.
 CONTRACT




                Contract Price $                       Date of Contract                      Is the property seller the owner of public record?        Yes         No Data Source(s)
                Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?                          Yes     No
                If Yes, report the total dollar amount and describe the items to be paid.



                Note: Race and the racial composition of the neighborhood are not appraisal factors.
                             Neighborhood Characteristics                                      One-Unit Housing Trends                                           One-Unit Housing           Present Land Use %
                Location      Urban              Suburban          Rural         Property Values         Increasing           Stable        Declining          PRICE           AGE        One-Unit          97 %
                Built-Up      Over 75%           25-75%            Under 25%     Demand/Supply           Shortage             In Balance    Over Supply       $ (000)          (yrs)      2-4 Unit            %
 NEIGHBORHOOD




                Growth        Rapid              Stable            Slow          Marketing Time          Under 3 mths         3-6 mths      Over 6 mths       325 Low            5        Multi-Family        %
                Neighborhood Boundaries  Market area is bounded south by La Tuna Canyon Rd, north by 210 Fwy, east                                           2,350 High          90       Commercial         1%
                by Freeway 210 and west by Glenoaks Blvd.                                                                                                     900 Pred.          65       Other              2%
                Neighborhood Description The neighborhood predominately consists of SFRs along with limited number of commercial/warehouse units alongside major
                streets. Local neighborhood amenities i.e. public parks, employment centers, schools and shopping facilities are located within 2-5 mile radius. Land use
                for "Other" refers to public streets, parks and other community places.
                Market Conditions (including support for the above conclusions)           The home values have maintained stable state over past 12 months. The supply is balanced
                with demand. The exposure time with sufficient marketing effort & reasonable listing price is estimated in range of 1-3 months. Exposure time exists before
                the effective date of the appraisal, whereas the marketing time exists immediately after that date (USPAP Stmnt 6 & Advisory Op.7).
                Dimensions See Plat Map                                                    Area 8000 sf                               Shape Rectangular         View B;CtySky;Mtn
                Specific Zoning Classification LARE40                                      Zoning Description Residential Estate, min. lot area 40,000SF; Hillside ordinance.
                Zoning Compliance          Legal        Legal Nonconforming (Grandfathered Use)          No Zoning         Illegal (describe)
                Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use?             Yes No If No, describe

                Utilities         Public Other (describe)                                       Public Other (describe)                      Off-site Improvements - Type              Public     Private
                Electricity                                                      Water                                                       Street Asphalt
 SITE




                Gas                                                              Sanitary Sewer                                              Alley None
                FEMA Special Flood Hazard Area               Yes          No FEMA Flood Zone D                   FEMA Map # 06037C1330F                                   FEMA Map Date 09/26/2008
                Are the utilities and off-site improvements typical for the market area?              Yes      No If No, describe
                Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?                     Yes      No If Yes, describe
                 Per public records the subject has 23388 SF Site area, however due to steep downhill towards the back side, the land utility is reduced by apprx.
                70% leaving approx. 7000 SF for usable area, which is used in the Sales Comparison Approach. No other significant factors relating to the
                subject's site, topography, shape, size or drainage were noted. Title report was not reviewed by the appraiser's. No external obsolescence noted.
                              General Description                                      Foundation                      Exterior Description         materials/condition Interior           materials/condition
                Units       One       One with Accessory Unit            Concrete Slab             Crawl Space         Foundation Walls        Concrete/Avg             Floors        WdLmnt/Gd
                # of Stories           2                                 Full Basement             Partial Basement    Exterior Walls          Stucco/Stone/Gd          Walls         Drywall/Gd
                Type        Det.      Att.       S-Det./End Unit Basement Area                              396 sq.ft. Roof Surface            Comp Shingle/Avg+ Trim/Finish          Crwn,Base/Gd
                     Existing      Proposed          Under Const. Basement Finish                              0     % Gutters & Downspouts Metal/Gd                    Bath Floor    Tile,Wd/Avg+
                Design (Style)         Traditional                       Outside Entry/Exit           Sump Pump        Window Type             Vinyl,Alum/Avg+          Bath Wainscot Tile/Avg+
                Year Built             1964                         Evidence of          Infestation Unknown Storm Sash/Insulated None                                  Car Storage         None
                Effective Age (Yrs) 15                                   Dampness            Settlement                Screens                 Metal/Avg+                   Driveway    # of Cars       2
                Attic                          None                 Heating         FWA          HWBB          Radiant Amenities                    Woodstove(s) # 0 Driveway Surface          Concrete
                     Drop Stair                Stairs                    Other                 Fuel Gas                    Fireplace(s) # 1         Fence Wood              Garage      # of Cars       2
                     Floor                     Scuttle              Cooling          Central Air Conditioning              Patio/Deck Deck          Porch Concrete          Carport     # of Cars       0
                     Finished                  Heated                    Individual                 Other                  Pool None                Other None              Att.          Det.           Built-in
 IMPROVEMENTS




                Appliances        Refrigerator        Range/Oven            Dishwasher          Disposal         Microwave         Washer/Dryer      Other (describe)
                Finished area above grade contains:                    4 Rooms                      2 Bedrooms                 2.0 Bath(s)            2,404 Square Feet of Gross Living Area Above Grade
                Additional features (special energy efficient items, etc.).       During inspection the utilities were on & appeared in working order. No appliance or climatization unit was
                tested for operation; thus an assumption is made that they are in working order. Smoke & C/O detectors are installed. Water heater double strapped.
                Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.). C3;Kitchen-remodeled-less than one year
                ago;Bathrooms-remodeled-less than one year ago;The subject property is improved with 2bd/1bath dwelling with 2-car built-in garage and a
                partial basement. Per owner they are planning to pull permits to finish this area as a bedroom or den w/full bathroom. This appraisal report is
                made as-is and no value is given to this basement area as-finished. After last transfer the subject property underwent a major remodeling and
                upgrades throughout the place. See page 3 for continued comments:
                Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property? Yes No If Yes, describe




                Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?                   Yes       No If No, describe



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                             There are        11     comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 775,000                     to $ 1,475,000             .
                             There are        35     comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 715,000                      to $ 1,235,000            .
                                          FEATURE                    SUBJECT                   COMPARABLE SALE # 1                        COMPARABLE SALE # 2                        COMPARABLE SALE # 3
                             Address 10366 Ormond St                                 9545 Hillrose St                            10876 Wicks St                            9565 Dale Ave
                                          Sunland, CA 91040                          Shadow Hills, CA 91040                      Shadow Hills, CA 91040                    Shadow Hills, CA 91040
                             Proximity to Subject                                    1.82 miles NE                               1.02 miles NW                             0.20 miles NE
                             Sale Price                        $                                           $        1,060,000                        $        1,000,000                         $          820,000
                             Sale Price/Gross Liv. Area        $      274.54 sq.ft. $       318.32 sq.ft.                        $     341.65 sq.ft.                       $      431.58 sq.ft.
                             Data Source(s)                                          CRMLS#318001726;DOM 9                       CRMLS#818000185;DOM 6                     CRMLS#BB18032064;DOM 9
                             Verification Source(s)                                  NDC Data; Doc#542778                        NDC Data; Doc#227264                      NDC Data; Doc#288006
                             VALUE ADJUSTMENTS                     DESCRIPTION           DESCRIPTION         +(-) $ Adjustment       DESCRIPTION       +(-) $ Adjustment       DESCRIPTION        +(-) $ Adjustment
                             Sales or Financing                                      ArmLth                                      ArmLth                                    ArmLth
                             Concessions                                             Conv;0                                      Conv;0                                    Cash;10000
                             Date of Sale/Time                                       s05/18;c05/18                               s03/18;c03/18                             s03/18;c02/18
                             Location                          N;Res;                N;Res;                                      N;Res;                                    N;Res;
                             Leasehold/Fee Simple              Fee Simple            Fee Simple                                  Fee Simple                                Fee Simple
                             Site                              8000 sf               19381 sf                          -57,000 19920 sf                          -60,000 12000 sf                           -20,000
                             View                              B;CtySky;Mtn          B;CtySky;Mtn                                N;Res;                         +75,000 B;CtySky;Mtn
                             Design (Style)                    DT2;Traditional DT1;Mediter.                                    0 DT2;Traditional                           DT1;Ranch                                0
                             Quality of Construction           Q4                    Q4                                          Q4                                        Q4
                             Actual Age                        54                    11                                        0 37                                      0 89                                       0
                             Condition                         C3                    C3                                          C3                                        C3                              +50,000
                             Above Grade                        Total Bdrms. Baths Total Bdrms. Baths                             Total Bdrms. Baths                        Total Bdrms. Baths
                             Room Count                           4      2     2.0      6      3     2.1                -5,000 7          4    3.0               -10,000 6           3      2.1               -5,000
                             Gross Living Area                         2,404 sq.ft.          3,330 sq.ft.              -69,000          2,927 sq.ft.             -39,000           1,900 sq.ft.            +38,000
                             Basement & Finished               396sf0sfin            0sf                                       0 0sf                                     0 100sf0sfin                               0
                             Rooms Below Grade
                             Functional Utility                Average               Average                                     Average                                   Average
 SALES COMPARISON APPROACH




                             Heating/Cooling                   FAU/CAC               FAU/CAC                                     FAU/CAC                                   FAU/CAC
                             Energy Efficient Items            Rec.Lights            Rec.Lights                                  Rec.Lights                                Rec.Lights
                             Garage/Carport                    2gbi2dw               3ga3dw                            -10,000 3ga3dw                            -10,000 2cp2dw                            +20,000
                             Porch/Patio/Deck                  Deck                  Patio                                     0 Patio                                   0 Patio                                    0
                             Amenities                         None                  None                                        Pool/Spa                        -40,000 None


                             Net Adjustment (Total)                                               +          - $           -141,000              +           - $        -84,000         +            -    $            83,000
                             Adjusted Sale Price                                         Net Adj.       13.3 %                         Net Adj.           8.4 %                Net Adj.          10.1 %
                             of Comparables                                              Gross Adj. 13.3 % $                919,000 Gross Adj. 23.4 % $                916,000 Gross Adj.        16.2 % $            903,000
                             I      did       did not research the sale or transfer history of the subject property and comparable sales. If not, explain



                             My research          did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                             Data Source(s)       NDC Data, Agent Pro.
                             My research          did        did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
                             Data Source(s)       NDC Data, Agent Pro.
                             Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                               ITEM                                     SUBJECT                          COMPARABLE SALE #1                        COMPARABLE SALE #2                   COMPARABLE SALE #3
                             Date of Prior Sale/Transfer                 08/08/2017
                             Price of Prior Sale/Transfer                $594,000
                             Data Source(s)                              NDC Data, CRMLS                          NDC Data, CRMLS                           NDC Data, CRMLS                         NDC Data, CRMLS
                             Effective Date of Data Source(s)            08/21/2018                               08/21/2018                                08/21/2018                              08/21/2018
                             Analysis of prior sale or transfer history of the subject property and comparable sales                  The subject's prior transfer was a short sale. The MLS listing has the
                             following note " AS A COMP PURPOSE ONLY. ASSESSOR WILL SHOW $594,000. HOWEVER, DUE TO BEING A SHORT SALE AND OTHER LIENS,
                             BUYER PAID APPROXI. $600,000. MORE THAN RECORDED AMOUNT". No other relevant facts pertaining to the sales history of the subject property or
                             the comparable sales are noted by the appraiser.



                             Summary of Sales Comparison Approach          An exhaustive search and thorough review of available data sources (NDC, CRMLS, local realtors) was conducted
                             for homes similar to subject. During research an effort was made to find homes within subject marketplace (within 2 mile radius) with similar view amenity
                             and condition. The subject area is known for its horse properties, which have equine keeping facilities and have much larger usable lot sizes. Therefore it
                             was necessary to screen through a large number of recent comps sales (comparable in terms of GLA & site size, room count, condition) in order to narrow
                             down to the selected 4 comp sales, which have similar GLA, condition, site utility & view amenity to the subject. All of the selected comps have been
                             thoroughly researched, analyzed & considered while deriving the opinion of market value of the subject. The comparables' GLA, lot size and bed/bath count
                             vary between MLS and public records. For the purpose of this appraisal the appraiser gave more weight to public records for GLA and site size, and more
                             weight to MLS listings as they provide more accurate count for bed/bath and for most cases provide interior photos.
                             Indicated Value by Sales Comparison Approach $     915,000
                             Indicated Value by: Sales Comparison Approach $              915,000            Cost Approach (if developed) $          908,800         Income Approach (if developed) $          924,000
                             This report is based upon the fee simple interest, which in unencumbered and subject to assumptions and limiting conditions attached to and made a part
                             of this report. See page 3 for Final Reconciliation Comments.
 RECONCILIATION




                             This appraisal is made        "as is",       subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
                             completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or subject to the
                             following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair: This Appraisal Report is intended for
                             use by the lender/client as indicated on Page 1 for a mortgage finance transaction only. This report is not intended for any other use.
                             Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
                             conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
                             $     915,000      , as of          08/21/2018           , which is the date of inspection and the effective date of this appraisal.
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                       CONTINUED COMMENTS ON SUBJECT IMPROVEMENTS: The interior features new wood laminate floors, fresh coat of paint, upgraded
                       mechanical system including copper plumbing, new electrical, partially updated windows and doors, partially repaired/replaced roof; remodeled
                       kitchen w/new cabinets, stone counter tops and SS appliances; remodeled master bathroom w/quality tilework, new vanity and fixtures. For the
                       purpose of this report the measured GLA of the subject property is used as opposed to the public records with extraordinary assumption made
                       that the subject's actual GLA is all up to code and permitted. The combination of upgrades along with original items of construction combine for
                       overall C3 condition, hence given the effective age, which is figured from an age-life base of 75 years

                       CONTINUED COMMENTS ON COMPARABLES: The hillside sites typically have reduced utility and less usable area than the actual size of the site.
                       Some of the selected comps have hillside topography and for the purpose of this report the estimated usable lot size is used for those comps. The usable
                       area of the lots is estimated by observing the aerial & plat maps combined with drive by inspections.
                       Comp 1 and 3 have similar marketable view. Comp 1 and 2 demonstrate somewhat similar condition to the subject. Comp 4 brackets the
                       subject's bed/bath count. Comp 3 and 4 features older renovation and remodel, thus they both are adjusted for condition, although they both are
                       rated C3. Comp 2 and 5 are adjusted for lack of view amenity. Comp 5 is an active listing.
                       Per public records the site size of Comp 3 is 31047 SF GLA, which has a reduced utility by approx. 35-40%, leaving approx. 12000 SF for usable
                       area. Comp 4 per public records has a site size of 16787SF with approx. 8000 SF usable area and Comp 5 per public records has 15398 SF site,
                       which has approx. 9000 SF of usable area.
 ADDITIONAL COMMENTS




                       COMMENTS ON WEIGHTING OF COMPS: During reconciliation the comparables are weighted as follows: the weighted average is used for
                       Comparables 1, 2 and 3, with more weight placed on Comps 1 and 2 due to similar condition. Comp 4 is selected to bracket the subject's bed/bath count.
                       Comp 5 is given the least weight due to being a listing.

                       RECONCILIATION: The Sales Comparison Approach best reflects typical buyers and sellers in this neighborhood and provides the most reliable
                       indicator of value for the subject property. Most weight has been place on the Sales Comparison Approach to value, with emphasis on current
                       levels of competition.
                       The Cost Approach tends to be reasonably reliable for newer homes and income units, where the property is developed to its highest and best
                       use, and where the normal forces of supply and demand are in balance. However, due to the difficulty in estimating depreciation in older
                       properties and the lack of market support for the estimated site value it is not considered as accurate indicator of value as the Sales Comparison
                       Approach, therefore it is given secondary weight.
                       The Income Approach is given less weight as it is based on estimated forecasted market rents. The Gross Rental Multiplier is derived from rents of sales,
                       which are obtained from recent MLS listings, yet deemed unreliable due to being unverifiable.

                       COMMENT ON APPRAISED VALUE OPINION: The appraised value opinion is supported by pre & post adjustment sale price indicators of the
                       selected comp sales, and is higher than the Predominant Value of the subject market area as home with smaller GLAs and in inferior condition
                       were also included in the general research, which does not make the subject property over-improved for the area.
                       The appraised value opinion is higher than the most recent purchase price, which is due to positive market reaction towards the major upgrades
                       done to the property after it was sold combined with the fact that the property was sold below market value due to being a short sale.

                       COMMENT ON HIGHEST AND BEST USE: The subject property's highest and best use as-vacant and as-improved is the current use.

                                                                                          COST APPROACH TO VALUE (not required by Fannie Mae)
                       Provide adequate information for the lender/client to replicate the below cost figures and calculations.
                       Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value)
                                                                                                                                    The subject's land value was obtained by
                       abstraction. It is noted that the subject's site value exceeds the 30% of the appraised value. The subject is located in a neighborhood with high
                       land value, this factor does not adversely affect the property. The subject's land value is typical for the neighborhood and market area and is a
                       result of positive locational factors, and is supported by the comps.
                       ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW              OPINION OF SITE VALUE                                           =$
 COST APPROACH




                                                                                                                                                                             350,000
                       Source of cost data www.building-cost.net                                      DWELLING                    2,404 Sq.Ft. @ $     250.00         =$     601,000
                       Quality rating from cost service Avg+         Effective date of cost data 2018                               396 Sq.Ft. @ $                    =$
                       Comments on Cost Approach (gross living area calculations, depreciation, etc.)                                                                 =$
                       Public records 2250 SF GLA. On-site measurement 2404 SF GLA. The               Garage/Carport                500 Sq.Ft. @ $       70.00        =$      35,000
                       effective age of the subject property is figured from an age-life base of 75   Total Estimate of Cost-New                                      =$     636,000
                       years. Remaining economic life is an approximation.                            Less              Physical        Functional  External
                       External/Functional obsolescence - none noted.                                 Depreciation            127,200                                 =$(    127,200)
                                                                                                      Depreciated Cost of Improvements                                =$     508,800
                                                                                                      "As-is" Value of Site Improvements                              =$      50,000

                       Estimated Remaining Economic Life (HUD and VA only)                                    60 Years INDICATED VALUE BY COST APPROACH                                              =$        908,800
                                                                                        INCOME APPROACH TO VALUE (not required by Fannie Mae)
 INCOME




                       Estimated Monthly Market Rent $          4200                   X Gross Rent Multiplier           220          =$          924,000                              Indicated Value by Income Approach
                       Summary of Income Approach (including support for market rent and GRM)                   The derived GRM indicator is based on the comp sales and estimated forecasted
                       market rents, therefore the income approach is given less weight.
                                                                                              PROJECT INFORMATION FOR PUDs (if applicable)
                       Is the developer/builder in control of the Homeowners' Association (HOA)?                Yes       No      Unit type(s)        Detached          Attached
                       Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
                       Legal Name of Project
                       Total number of phases                             Total number of units                                Total number of units sold
 PUD INFORMATION




                       Total number of units rented                       Total number of units for sale                       Data source(s)
                       Was the project created by the conversion of existing building(s) into a PUD?                 Yes       No If Yes, date of conversion.
                       Does the project contain any multi-dwelling units?              Yes        No Data Source
                       Are the units, common elements, and recreation facilities complete?                  Yes        No If No, describe the status of completion.



                       Are the common elements leased to or by the Homeowners' Association?                   Yes        No If Yes, describe the rental terms and options.

                       Describe common elements and recreational facilities.


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    This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
    including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
    manufactured home or a unit in a condominium or cooperative project.

    This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
    statement of assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended
    use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
    expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
    assignment. Modifications or deletions to the certifications are also not permitted. However, additional certifications that do
    not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
    continuing education or membership in an appraisal organization, are permitted.

    SCOPE OF WORK:        The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
    reporting requirements of this appraisal report form, including the following definition of market value, statement of
    assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual
    inspection of the interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the
    comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,
    and (5) report his or her analysis, opinions, and conclusions in this appraisal report.

    INTENDED USE:      The intended use of this appraisal report is for the lender/client to evaluate the property that is the
    subject of this appraisal for a mortgage finance transaction.

    INTENDED USER:        The intended user of this appraisal report is the lender/client.

    DEFINITION OF MARKET VALUE:          The most probable price which a property should bring in a competitive and open
    market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
    the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
    the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
    parties are well informed or well advised, and each acting in what he or she considers his or her own best interest; (3) a
    reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
    of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
    unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

    *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
    necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
    readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
    adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
    lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
    dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
    reaction to the financing or concessions based on the appraiser's judgment.

    STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS:                              The appraiser's certification in this report is
    subject to the following assumptions and limiting conditions:

    1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
    to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
    appraiser assumes that the title is good and marketable and will not render any opinions about the title.

    2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements.
    The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
    of its size.

    3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
    (or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
    identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
    implied, regarding this determination.

    4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
    unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

    5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
    presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
    she became aware of during the research involved in performing the appraisal. Unless otherwise stated in this appraisal
    report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
    property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
    adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
    conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any such
    conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
    Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
    an environmental assessment of the property.

    6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
    completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will
    be performed in a professional manner.




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    APPRAISER'S CERTIFICATION:          The Appraiser certifies and agrees that:

    1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
    this appraisal report.

    2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition
    of the improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the
    livability, soundness, or structural integrity of the property.

    3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
    Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
    place at the time this appraisal report was prepared.

    4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
    comparison approach to value. I have adequate comparable market data to develop a reliable sales comparison approach
    for this appraisal assignment. I further certify that I considered the cost and income approaches to value but did not develop
    them, unless otherwise indicated in this report.

    5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
    sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
    property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

    6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
    to the date of sale of the comparable sale, unless otherwise indicated in this report.

    7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

    8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
    has been built or will be built on the land.

    9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
    property and the comparable sales.

    10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
    the sale or financing of the subject property.

    11. I have knowledge and experience in appraising this type of property in this market area.

    12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
    services, tax assessment records, public land records and other such data sources for the area in which the property is located.

    13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
    reliable sources that I believe to be true and correct.

    14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
    property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. I
    have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the
    presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
    subject property or that I became aware of during the research involved in performing this appraisal. I have considered these
    adverse conditions in my analysis of the property value, and have reported on the effect of the conditions on the value and
    marketability of the subject property.

    15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
    statements and information in this appraisal report are true and correct.

    16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
    are subject only to the assumptions and limiting conditions in this appraisal report.

    17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or
    prospective personal interest or bias with respect to the participants in the transaction. I did not base, either partially or
    completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
    status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
    present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

    18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
    conditioned on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a
    predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
    any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
    mortgage loan application).

    19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I
    relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
    or the preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this
    appraisal report. I certify that any individual so named is qualified to perform the tasks. I have not authorized anyone to make
    a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no
    responsibility for it.

    20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that
    ordered and will receive this appraisal report.


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    21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
    borrower; the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other
    secondary market participants; data collection or reporting services; professional appraisal organizations; any department,
    agency, or instrumentality of the United States; and any state, the District of Columbia, or other jurisdictions; without having to
    obtain the appraiser's or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
    report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
    relations, news, sales, or other media).

    22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
    laws and regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
    that pertain to disclosure or distribution by me.

    23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage
    insurers, government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part
    of any mortgage finance transaction that involves any one or more of these parties.

    24. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
    defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
    appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
    valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

    25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
    criminal penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States
    Code, Section 1001, et seq., or similar state laws.

    SUPERVISORY APPRAISER'S CERTIFICATION:                     The Supervisory Appraiser certifies and agrees that:

    1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
    analysis, opinions, statements, conclusions, and the appraiser's certification.

    2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
    statements, conclusions, and the appraiser's certification.

    3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
    appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

    4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
    promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
    report was prepared.

    5. If this appraisal report was transmitted as an "electronic record"             containing my "electronic signature," as those terms are
    defined in applicable federal and/or state laws (excluding audio and              video recordings), or a facsimile transmission of this
    appraisal report containing a copy or representation of my signature,              the appraisal report shall be as effective, enforceable and
    valid as if a paper version of this appraisal report were delivered               containing my original hand written signature.




  APPRAISER                                                                       SUPERVISORY APPRAISER (ONLY IF REQUIRED)

  Signature                                                                       Signature
  Name Mariam Aivazian                                                            Name
  Company Name          Universal Valuation                                       Company Name
  Company Address          7769 Clearfield Avenue                                 Company Address
                           Panorama City, CA 91402
  Telephone Number         (310) 775-7676                                         Telephone Number
  Email Address       mariamaivazian@universalvaluations.com                      Email Address
  Date of Signature and Report          08/28/2018                                Date of Signature
  Effective Date of Appraisal        08/21/2018                                   State Certification #
  State Certification #      AR044156                                             or State License #
  or State License #                                                              State
  or Other (describe)                              State #                        Expiration Date of Certification or License
  State CA
  Expiration Date of Certification or License       11/06/2018                    SUBJECT PROPERTY

  ADDRESS OF PROPERTY APPRAISED                                                         Did not inspect subject property
   10366 Ormond St
                                                                                        Did inspect exterior of subject property from street
                                                                                        Date of Inspection
   Sunland, CA 91040
  APPRAISED VALUE OF SUBJECT PROPERTY $                                                 Did inspect interior and exterior of subject property
                                                          915,000
                                                                                        Date of Inspection
  LENDER/CLIENT
  Name Golden State AMC
                                                                                  COMPARABLE SALES
  Company Name    Golden West Alliance Inc
  Company Address    550 N Brand Blvd, Unit 170, Glendale, CA                           Did not inspect exterior of comparable sales from street
                     91203                                                              Did inspect exterior of comparable sales from street
  Email Address                                                                         Date of Inspection



  Freddie Mac Form 70 March 2005                UAD Version 9/2011        Page 6 of 6                                           Fannie Mae Form 1004 March 2005


                                            Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:20-bk-15381-SK                                                              Doc 112 Filed 02/19/21 Entered 02/19/21 12:47:25                                                                                          Desc
                                                                                   Main Document    Page 59 of 102       2019886
                                                                                    Uniform Residential Appraisal Report                                             File # 180804218
                                         FEATURE                      SUBJECT         COMPARABLE SALE # 4                                  COMPARABLE SALE # 5               COMPARABLE SALE # 6
                             Address 10366 Ormond St                           9714 Rotta Ave                                       10110 Sunland Blvd
                                          Sunland, CA 91040                    Shadow Hills, CA 91040                               Sunland, CA 91040
                             Proximity to Subject                              0.42 miles NE                                        1.55 miles NE
                             Sale Price                   $                                       $          740,000                                   $     800,000                     $
                             Sale Price/Gross Liv. Area   $      274.54 sq.ft. $    487.16 sq.ft.                                   $    412.58 sq.ft.               $            sq.ft.
                             Data Source(s)                                    CRMLS#BB18034404;DOM 10                               CRMLS#BB18157786;DOM 52
                             Verification Source(s)                            NDC Data; Doc#275216                                  NDC Data
                             VALUE ADJUSTMENTS                DESCRIPTION         DESCRIPTION       +(-) $ Adjustment                   DESCRIPTION +(-) $ Adjustment                 DESCRIPTION           +(-) $ Adjustment
                             Sales or Financing                                ArmLth                                                Listing
                             Concessions                                       Cash;1000
                             Date of Sale/Time                                 s03/18;c02/18                                         Active
                             Location                     N;Res;               N;Res;                                                N;Res;
 SALES COMPARISON APPROACH




                             Leasehold/Fee Simple         Fee Simple           Fee Simple                                            Fee Simple
                             Site                         8000 sf              8000 sf                                               9000 sf                            -5,000
                             View                         B;CtySky;Mtn         B;CtySky;Mtn                                          B;LtdSght;Mtn                     +50,000
                             Design (Style)               DT2;Traditional DT1;Mediter.                                0              DT2;Mediter.                            0
                             Quality of Construction      Q4                   Q4                                                    Q4
                             Actual Age                   54                   52                                     0              25                                         0
                             Condition                    C3                   C3                            +50,000                 C3
                             Above Grade                   Total Bdrms. Baths Total Bdrms. Baths                                     Total Bdrms. Baths                             Total Bdrms. Baths
                             Room Count                      4      2    2.0     4     2    2.0                                        6      3   2.1                   -5,000
                             Gross Living Area                    2,404 sq.ft.       1,519 sq.ft.            +66,000                        1,939 sq.ft.               +35,000                     sq.ft.
                             Basement & Finished          396sf0sfin           0sf                                    0              0sf                                     0
                             Rooms Below Grade
                             Functional Utility           Average              Average                                               Average
                             Heating/Cooling              FAU/CAC              FAU/CAC                                               FAU/CAC
                             Energy Efficient Items       Rec.Lights           Rec.Lights                                            Rec.Lights
                             Garage/Carport               2gbi2dw              2ga2dw                                 0              2ga2dw                                     0
                             Porch/Patio/Deck             Deck                 Patio                                  0              Patio                                      0
                             Amenities                          None                   None                                          None


                             Net Adjustment (Total)                                                 +         - $              116,000              +       - $                75,000              +       - $
                             Adjusted Sale Price                                           Net Adj.      15.7 %                            Net Adj.      9.4 %                            Net Adj.          %
                             of Comparables                                                Gross Adj. 15.7 % $                 856,000 Gross Adj. 11.9 % $                   875,000 Gross Adj.             % $
                             Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                               ITEM                                     SUBJECT                         COMPARABLE SALE # 4                   COMPARABLE SALE # 5                      COMPARABLE SALE # 6
                             Date of Prior Sale/Transfer                 08/08/2017
                             Price of Prior Sale/Transfer                $594,000
 SALE HISTORY




                             Data Source(s)                              NDC Data, CRMLS                         NDC Data, CRMLS                        NDC Data, CRMLS
                             Effective Date of Data Source(s)            08/21/2018                              08/21/2018                             08/21/2018
                             Analysis of prior sale or transfer history of the subject property and comparable sales                 No other relevant facts pertaining to above presented comparables were
                             noted by the appraiser.




                             Analysis/Comments     GRID ADJUSTMENTS: Adjustments to the comp sales reflect the market's reaction towards the differences between the subject &
                             comparables. The Client guidelines of 1) 10% of sale price or less adjustment per line, is exceeded due to large adjustments for location for Comp 5.
                             -Site area at $5 square foot (with minimum adjustments of $5,000 rounded).
                             -Square footage at $75 (with minimum adjustments of $5,000 rounded).
                             -Bedroom adjustment is reflected in GLA adjustments.
                             -Bathroom at $10,000; Half bathroom $5,000.
                             -Condition/quality adjustment at $50,000. Condition ratings are per the UAD requirement, however within the C1-C6 ratings there can be variances in
                             degree of condition; i.e. updated baths with upgraded kitchen for one comp vs. upgraded baths with upgraded kitchen for another. Both may be considered
                             similar condition ratings based on the UAD ratings, however may have a difference in dollar adjustment applied based on the degree of the
                             upgrades/remodeling. Sales comparison comments are provided to assist the reader in understanding the adjustments applied.
 ANALYSIS / COMMENTS




                             -Pool/Spa at $25,000; View amenity at $50,000 & $75,000; Garage at $10,000 per space.
                             No adjustment is made for fireplace, as its contributing value is too small to accurately measure.

                             COMMENT ON ADVERSE ENVIRONMENTAL CONDITIONS: The appraiser has no specific knowledge of hidden or unapparent conditions relating to the
                             property's structure that would make it a potential health hazard. The appraiser observed no obvious damage to the subject property due to any natural
                             disaster. Furthermore, the appraiser has assumed there are no hidden or unapparent conditions of the property site, the subsoil, or the structures that
                             would make the property more or less valuable. The appraiser is not responsible for any such conditions that do exist or any engineering that might be
                             required to discover whether such factors exist. The appraiser is not a home or environmental inspector. The appraiser provides an opinion of value. The
                             appraisal does not guarantee that the property is free of defects or environmental problems. Mold may be present in areas the appraiser cannot see.




        Freddie Mac Form 70 March 2005                                                                          UAD Version 9/2011                                                   Fannie Mae Form 1004 March 2005



                                                                                Form 1004UAD.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
              Case 2:20-bk-15381-SK                             Doc 112 Filed 02/19/21 Entered 02/19/21 12:47:25                                                             Desc
                                                                Main Document    Page 60 of 102
                                                SINGLE FAMILY COMPARABLE RENT SCHEDULE
 This form is intended to provide the appraiser with a familiar format to estimate the market rent of the subject property. Adjustments should be made only for items of significant
 difference between the comparables and the subject property.

         ITEM            SUBJECT                               COMPARABLE NO. 1                               COMPARABLE NO. 2                                COMPARABLE NO. 3
        10366 Ormond St                               10137 Wheatland Ave                            9818 Wheatland Ave                              10222 Horsehaven St
Address
        Sunland, CA 91040                             Sunland, CA 91040                              Sunland, CA 91040                               Sunland, CA 91040
                                                      0.97 miles N                                   0.53 miles N                                    0.38 miles SE
Proximity to Subject

Date Lease Begins          09/2017                    08/18                                          08/18                                           04/18-03/19
Date Lease Expires         08/2020                    1 year lease                                   1 year lease                                    1 year lease
Monthy Rental              If Currently
                           Rented: $      4,200     $                  4,200                         $                4,500                          $               4,200
Less: Utilities            $                      0 $                      0                         $                    0                          $                   0
      Furniture                                   0                        0                                              0                                              0
Adjusted
Monthly Rent               $            4,200 $            4,200                                     $            4,500                              $            4,200
                           NDC,AgntPro        CRMLS#817002052                                        CRMLS#818003739                                 CRMLS#BB17166496
Data Source
                           Inspection,MLS     L.Agent at (818) 248-2248                              L.Agent at (818) 790-6774                       L.Agent at 818-239-3500
RENT ADJUSTMENTS               DESCRIPTION        DESCRIPTION      +( – )$ Adjust.                       DESCRIPTION      +( –)$ Adjust.                 DESCRIPTION     +( – )$ Adjust.
Rent                                          0                                                      0                                               0
Concessions
                           N;Res;                     N;Res;                                         N;Res;                                     N;Res;
Location/View
                           B;CtySky;Mtn               B;CtySky;Mtn                                   N;Res;                                +500 N;Res;                                 +500
                           DT2;Traditional            DT2;Traditional                                DT2;Traditional                            DT2;Mediter.
Design and Appeal

                           54                   93                                               61                                             13
Age/Condition
                           C3                   C4                                          +800 C4                                        +800 C3
Above Grade                Total Bdrms Baths Total Bdrms Baths                                   Total Bdrms Baths                              Total Bdrms Baths
Room Count                  4      2     2.0     5   3    2.0                                     7      4    3.0                          -100 7       4    3.0                       -100
Gross Living Area                 2,404 Sq. Ft.     2,795 Sq. Ft.                           -200        2,780 Sq. Ft.                      -200        2,457 Sq. Ft.
Other (e.g., basement,     396sf0sfin           0sf                                              0sf                                            0sf
etc.)
                           2 Car Garage               2 Car Garage                                2 Car Garage                                  2 Car Garage
Other:
                           None                       Pool                                   -500 ADU 1bd/1ba                            -1,200 Pool                                   -500
Net Adj. (total)                                          +       – $                         100     +       – $                          -200     +       – $                        -100
Indicated Monthly
Market Rent                                                                $               4,300                          $               4,300                              $      4,100
 Comments on market data, including the range of rents for single family properties, an estimate of vacancy for single family rental properties, the general trend of rents and
 vacancy, and support for the above adjustments. (Rent concessions should be adjusted to the market, not to the subject property.)                The rental data is limited in the
 subject market area, as typically landlords in this area are advertising the rentals by themselves without listing their homes in the MLS. Some rental
 listings are noted in Craigslist.com & apartments.com, which however only reports the available inventory and does not provide historic data. No rent
 concessions are noted for the comparables. The vacancy rate is noted to be at approx 3%. Typically, homes are leased unfurnished, on 12-month
 lease bases and then turn to month-to-month if the parties are interested. The applied adjustments to the rental comparables are market derived.




 Final Reconciliation of Market Rent: The subject property is vacant. During reconciliation all 3 rental comparables are considered while deriving a
 rental value opinion. The subject property's market rent is estimated at $4200 per month.




 I (WE) ESTIMATE THE MONTHLY MARKET RENT OF THE SUBJECT AS OF                      08/21/2018                                                   20          TO BE $ 4,200

 Appraiser(s) SIGNATURE                                                                          Review Appraiser    SIGNATURE
                                                                                                 (If applicable)
                NAME Mariam Aivazian                                                                                 NAME

Freddie Mac Form 1000 (8/88) [Y2K]                                                                                                                               Fannie Mae Form 1007 (8/88)
                                                                               Universal Valuations (310) 775-7676

                                                          Form RNT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:20-bk-15381-SK                            Doc 112                Filed 02/19/21 Entered 02/19/21 12:47:25 Desc
       Operating Income Main
                        Statement
                             Document                                            Page 61 of 102               180804218

       One- to Four-Family Investment Property and Two- to Four-Family Owner-Occupied Property
   Property Address
                            10366 Ormond St                                                     Sunland                         CA                  91040
                                 Street                                                           City                         State               Zip Code
   General Instructions: This form is to be prepared jointly by the loan applicant, the appraiser, and the lender's underwriter. The applicant must
   complete the following schedule indicating each unit's rental status, lease expiration date, current rent, market rent, and the responsibility for
   utility expenses. Rental figures must be based on the rent for an "unfurnished" unit.
                            Currently             Expiration            Current Rent            Market Rent                                    Paid        Paid
                             Rented                 Date                 Per Month              Per Month            Utility Expense         By Owner    By Tenant
   Unit No. 1         Yes        No               08/2020           $           4,200       $             4,200   Electricity
   Unit No. 2         Yes        No                                 $                       $                     Gas
   Unit No. 3         Yes        No                                 $                       $                     Fuel Oil
   Unit No. 4         Yes        No                                 $                       $                     Fuel (Other)
    Total                                                           $           4,200       $             4,200   Water/Sewer
                                                                                                                  Trash Removal

  The applicant should complete all of the income and expense projections and for existing properties provide actual year-end operating statements for
  the past two years (for new properties the applicant's projected income and expenses must be provided). This Operating Income Statement and any
  previous operating statements the applicant provides must then be sent to the appraiser for review, comment, and/or adjustments next to the
  applicant's figures (e.g. Applicant/Appraiser 288/300). If the appraiser is retained to complete the form instead of the applicant, the lender must
  provide to the appraiser the aforementioned operating statements, mortgage insurance premium, HOA dues, leasehold payments, subordinate
  financing, and/or any other relevant information as to the income and expenses of the subject property received from the applicant to substantiate the
  projections. The underwriter should carefully review the applicant's/appraiser's projections and the appraiser's comments concerning those
  projections. The underwriter should make any final adjustments that are necessary to more accurately reflect any income or expense items that
  appear unreasonable for the market. (Real estate taxes and insurance on these types of properties are included in PITI and not calculated as an
  annual expense item) Income should be based on the current rents, but should not exceed market rents. When there are no current rents because
  the property is proposed, new, or currently vacant, market rents should be used.

  Annual Income and Expense Projection for Next 12 months
                                                                                                                                            Adjustments by
  Income (Do not include income for owner-occupied units)                                            By Applicant/Appraiser               Lender's Underwriter
  Gross Annual Rental (from unit(s) to be rented)                             (Current)     $                        50,400             $
  Other Income (include sources)                                                            +                             0             +
  Total                                                                                     $                        50,400             $
  Less Vacancy/Rent Loss                                                                    –                         1,512 (      3 %) –                 (      %)
  Effective Gross Income                                                                    $                        48,888             $

  Expenses (Do not include expenses for owner-occupied units)
  Electricity Paid by Tenant (Typical)                                                                                     0
  Gas Paid by Tenant (Typical)                                                                                             0
  Fuel Oil
  Fuel                                                 (Type -                          )
  Water/Sewer Paid by Tenant (Typical)                                                                                    0
  Trash Removal        Paid by Tenant (Typical)                                                                           0
  Pest Control                                                                                                            0
  Other Taxes or Licenses       Insurance (Estimated)                                                                 1,100
  Casual Labor
       This includes the costs for public area cleaning, snow removal, etc., even
       though the applicant may not elect to contract for such services.

  Interior Paint/Decorating      (Estimated)                                                                               0
       This includes the costs of contract labor and materials that are required to
       maintain the interiors of the living unit.
  General Repairs/Maintenance           Paid by Owner                                                                   300
       This includes the costs of contract labor and materials that are required to
       maintain the public corridors, stairways, roofs, mechanical systems,
       grounds, etc.
  Management Expenses          Self Managed (Typical)                                                                      0
       These are the customer expenses that a professional management
       company would charge to manage the property.
  Supplies
       This includes the costs of items like light bulbs, janitorial supplies, etc.

  Total Replacement Reserves - See Schedule on Pg. 2            (Estimated)                                             368
  Miscellaneous                                                                                                       2,664




  Total Operating Expenses                                                                  $                         4,432              $


  Freddie Mac                                                  This Form Must Be Reproduced By Seller                                               Fannie Mae
  Form 998 Aug 88                                                           Page 1 of 2                                                             Form 216 Aug 88


                                                             Universal Valuations (310) 775-7676
                                           Form INC2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:20-bk-15381-SK                                   Doc 112 Filed 02/19/21 Entered 02/19/21 12:47:25                                                                    Desc
  Replacement Reserve Schedule                          Main Document    Page 62 of 102
  Adequate replacement reserves must be calculated regardless of whether actual reserves are provided for on the owner's operating statements
  or are customary in the local market. This represents the total average yearly reserves. Generally, all equipment and components that have
  a remaining life of more than one year - such as refrigerators, stoves, clothes washers/dryers, trash compactors, furnaces, roofs, and carpeting,
  etc. - should be expensed on a replacement cost basis.

  Equipment                                 Replacement              Remaining                                              By Applicant/                   Lender
                                                Cost                   Life                                                  Appraiser                    Adjustments

  Stoves/Ranges                 @       $          1,000   ea.   ÷       25 Yrs.   x             1          Units =     $                   40        $
  Refrigerators                 @       $                  ea.   ÷          Yrs.   x                        Units =     $                             $
  Dishwashers                   @       $                  ea.   ÷          Yrs.   x                        Units =     $                             $
  A/C Units                     @       $                  ea.   ÷          Yrs.   x                        Units =     $                             $
  C. Washer/Dryers              @       $                  ea.   ÷          Yrs.   x                        Units =     $                             $
  HW Heaters                    @       $          1,200   ea.   ÷       25 Yrs.   x             1          Units =     $                   48        $
  Furnace(s)                    @       $                  ea.   ÷          Yrs.   x                        Units =     $                             $
  (Other) FAU/CAC               @       $          7,000   ea.   ÷       25 Yrs.   x             1          Units =     $               280           $

  Roof                          @ $                              ÷             Yrs. x One Bldg. =                       $                             $

  Carpeting (Wall to Wall)                                                               Remaining
                                                                                           Life
  (Units)                         Total Sq. Yds. @ $                     Per Sq. Yd. ÷                Yrs. =            $                             $
  (Public Areas)                  Total Sq. Yds. @ $                     Per Sq. Yd. ÷                Yrs. =            $                             $

  Total Replacement Reserves. (Enter on Pg. 1)                                                                          $               368           $

  Operating Income Reconciliation

      $              48,888                    –    $            4,432                 = $               44,456              ÷ 12 =         $             3,705
              Effective Gross Income                    Total Operating Expenses                     Operating Income                            Monthly Operating Income
      $               3,705                    –    $                                  = $
             Monthly Operating Income                   Monthly Housing Expense                       Net Cash Flow


  (Note: Monthly Housing Expense includes principal and interest on the mortgage, hazard insurance premiums, real estate taxes, mortgage
  insurance premiums, HOA dues, leasehold payments, and subordinate financing payments.)

  Underwriter's instructions for 2-4 Family Owner-Occupied Properties

            If Monthly Operating Income is a positive number, enter as "Net Rental Income" in the "Gross Monthly Income" section of
            Freddie Mac Form 65/Fannie Mae Form 1003. If Monthly Operating Income is a negative number, it must be included as a
            liability for qualification purposes.

            The borrower's monthly housing expense-to-income ratio must be calculated by comparing the total Monthly Housing Expense
            for the subject property to the borrower's stable monthly income.


  Underwriter's instructions for 1-4 Family Investment Properties

            If Net Cash Flow is a positive number, enter as "Net Rental Income" in the "Gross Monthly Income" section of Freddie Mac
            Form 65/Fannie Mae Form 1003. If Net Cash Flow is a negative number, it must be included as a liability for qualification purposes.

            The borrower's monthly housing expense-to-income ratio must be calculated by comparing the total monthly housing expense
            for the borrower's primary residence to the borrower's stable monthly income.



  Appraiser's Comments (Including sources for data and rationale for the projections)
  Estimated rental amounts, expenses, and remaining life estimates for the Replacement Reserve Schedule are figured from an analysis of field
  research and based upon the subject's highest income earning potential and typical life expectancy of physical dwelling. All numbers are
  rounded to the nearest dollar amount.




   Mariam Aivazian                                                                                                                     08/28/2018
    Appraiser Name                                                                 Appraiser Signature                                   Date

  Underwriter's Comments and Rationale for Adjustments




     Underwriter Name                                                              Underwriter Signature                                    Date


  Freddie Mac                                                                                                                                               Fannie Mae
  Form 998 Aug 88                                                                  Page 2 of 2                                                              Form 216 Aug 88




                                                Form INC2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:20-bk-15381-SK Doc 112 Filed 02/19/21 Entered 02/19/21 12:47:25                                                                                                                                                           Desc
                                                                                2019886
                        Main
                    Market     Document
                           Conditions Addendum toPage   63 of 102
                                                  the Appraisal Report File No. 180804218
                                 The purpose of this addendum is to provide the lender/client with a clear and accurate understanding of the market trends and conditions prevalent in the subject
                                 neighborhood. This is a required addendum for all appraisal reports with an effective date on or after April 1, 2009.
                                 Property Address         10366 Ormond St                                                           City Sunland                                     State CA           ZIP Code 91040
                                 Borrower Anahit Harutyunyan
                                 Instructions: The appraiser must use the information required on this form as the basis for his/her conclusions, and must provide support for those conclusions, regarding
                                 housing trends and overall market conditions as reported in the Neighborhood section of the appraisal report form. The appraiser must fill in all the information to the extent
                                 it is available and reliable and must provide analysis as indicated below. If any required data is unavailable or is considered unreliable, the appraiser must provide an
                                 explanation. It is recognized that not all data sources will be able to provide data for the shaded areas below; if it is available, however, the appraiser must include the data
                                 in the analysis. If data sources provide the required information as an average instead of the median, the appraiser should report the available figure and identify it as an
                                 average. Sales and listings must be properties that compete with the subject property, determined by applying the criteria that would be used by a prospective buyer of the
                                 subject property. The appraiser must explain any anomalies in the data, such as seasonal markets, new construction, foreclosures, etc.
                                 Inventory Analysis                                              Prior 7–12 Months            Prior 4–6 Months            Current – 3 Months                            Overall Trend
                                 Total # of Comparable Sales (Settled)                                   11                           12                           12                    Increasing        Stable      Declining
                                 Absorption Rate (Total Sales/Months)                                   1.83                         4.00                         4.00                   Increasing        Stable      Declining
                                 Total # of Comparable Active Listings                                   10                            8                            8                    Declining         Stable      Increasing
                                 Months of Housing Supply (Total Listings/Ab.Rate)                      5.45                         2.00                         2.00                   Declining         Stable      Increasing
                                 Median Sale & List Price, DOM, Sale/List %                      Prior 7–12 Months            Prior 4–6 Months            Current – 3 Months                            Overall Trend
                                 Median Comparable Sale Price                                       $830,000                     $904,160                     $839,500                   Increasing        Stable      Declining
                                 Median Comparable Sales Days on Market                                  43                           36                           25                    Declining         Stable      Increasing
                                 Median Comparable List Price                                       $849,500                     $884,475                     $860,000                   Increasing        Stable      Declining
    MARKET RESEARCH & ANALYSIS




                                 Median Comparable Listings Days on Market                               35                           71                           34                    Declining         Stable      Increasing
                                 Median Sale Price as % of List Price                                 98.05%                     102.33%                       100.00%                   Increasing        Stable      Declining
                                 Seller-(developer, builder, etc.)paid financial assistance prevalent?              Yes           No                                                     Declining         Stable      Increasing
                                 Explain in detail the seller concessions trends for the past 12 months (e.g., seller contributions increased from 3% to 5%, increasing use of buydowns, closing costs, condo
                                 fees, options, etc.).         The California Regional Multiple Listing Service, Inc. MLS indicated 9 of 35 (25.7%) of the closed sales in the market area
                                 between 08/21/2017 and 08/21/2018 contained seller concessions. Concessions ranged between $1,000 and $20,000, and the median
                                 concession was $3,000. For 7-12 months prior, 1 of 11 transactions (9.1%) had concessions. For 4-6 months prior, 6 of 12 transactions
                                 (50.0%) had concessions. For the 3 months prior to the effective date, 2 of 12 transactions (16.7%) had concessions.

                                 Are foreclosure sales (REO sales) a factor in the market?              Yes         No      If yes, explain (including the trends in listings and sales of foreclosed properties).




                                 Cite data sources for above information.
                                                                      The Market Conditions Addenda was completed with data from California Regional Multiple Listing
                                 Service, Inc. MLS with an effective date of 08/21/2018.

                                 Summarize the above information as support for your conclusions in the Neighborhood section of the appraisal report form. If you used any additional information, such as
                                 an analysis of pending sales and/or expired and withdrawn listings, to formulate your conclusions, provide both an explanation and support for your conclusions.
                                 All conclusions are based on information obtained within the neighborhood boundaries and are comparable specific.
                                 Based on supplemental research, analysis and interviews with local real estate professionals, the real estate market in the subject neighborhood is
                                 noted to be in stable state. As of the effective date of this report there were 11 listing comparables in the neighborhood, 1 of which was selected in this
                                 report.




                                 If the subject is a unit in a condominium or cooperative project , complete the following:             N/A                           Project Name: N/A
                                 Subject Project Data                                         Prior 7–12 Months           Prior 4–6 Months            Current – 3 Months                              Overall Trend
                                 Total # of Comparable Sales (Settled)                                                                                                                Increasing         Stable           Declining
                                 Absorption Rate (Total Sales/Months)                                                                                                                 Increasing         Stable           Declining
                                 Total # of Active Comparable Listings                                                                                                                Declining          Stable           Increasing
                                 Months of Unit Supply (Total Listings/Ab.Rate)                                                                                                       Declining          Stable           Increasing
                                 Are foreclosure sales (REO sales) a factor in the project?            Yes           No     If yes, indicate the number of REO listings and explain the trends in listings and sales of
    CONDO/CO-OP PROJECTS




                                 foreclosed properties.




                                 Summarize the above trends and address the impact on the subject unit and project.                    N/A




                                 Signature                                                                                          Signature
                                 Appraiser Name        Mariam Aivazian                                                              Supervisory Appraiser Name
    APPRAISER




                                 Company Name          Universal Valuation                                                          Company Name
                                 Company Address           7769 Clearfield Avenue, Panorama City, CA 91402                          Company Address
                                 State License/Certification # AR044156                  State CA                                   State License/Certification #                                          State
                                 Email Address      mariamaivazian@universalvaluations.com                                          Email Address
                                    Freddie Mac Form 71 March 2009                                                 Page 1 of 1                                              Fannie Mae Form 1004MC March 2009


                                                                                   Form 1004MC2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA       Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                               Subject Front
                                                                                                             10366 Ormond St
                                                                                                             Sales Price
                                                                                                             Gross Living Area 2,404
                                                                                                             Total Rooms       4
                                                                                                             Total Bedrooms    2
                                                                                                             Total Bathrooms   2.0
                                                                                                             Location          N;Res;
                                                                                                             View              B;CtySky;Mtn
                                                                                                             Site              8000 sf
                                                                                                             Quality           Q4
                                                                                                             Age               54




                                                                                                                               Subject Rear




                                                                                                                             Subject Street




                                            Form PICPIX.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA      Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                               Street Scene
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                                Side View




                                                                                                                                Side View




                                            Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA     Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                               Front View
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                               Deck View




                                                                                                                               Deck View




                                            Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA     Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                             Rear/Side View
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                     City Lights & Mtn Views




                                                                                                                     City Lights & Mtn Views




                                            Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA      Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                                  Entry
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                               Living Room




                                                                                                                               Dining Area




                                            Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA      Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                                 Kitchen
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                               Kitchen View




                                                                                                                                 Hallway




                                            Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA     Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                               Bedroom 1
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                               Bedroom 2




                                                                                                                               Bathroom 1




                                            Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA      Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                             Bathroom 1 View
                                                                                                              10366 Ormond St
                                                                                                              Sales Price
                                                                                                              Gross Living Area 2,404
                                                                                                              Total Rooms       4
                                                                                                              Total Bedrooms    2
                                                                                                              Total Bathrooms   2.0
                                                                                                              Location          N;Res;
                                                                                                              View              B;CtySky;Mtn
                                                                                                              Site              8000 sf
                                                                                                              Quality           Q4
                                                                                                              Age               54




                                                                                                                               Bathroom 2




                                                                                                                                 Laundry




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Borrower           Anahit Harutyunyan
Property Address   10366 Ormond St
City               Sunland                                        County Los Angeles                            State CA        Zip Code 91040
Lender/Client      Golden West Alliance Inc
                                                                                                                         Garage Interior
                                                                                                         10366 Ormond St
                                                                                                         Sales Price
                                                                                                         Gross Living Area 2,404
                                                                                                         Total Rooms       4
                                                                                                         Total Bedrooms    2
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          N;Res;
                                                                                                         View              B;CtySky;Mtn
                                                                                                         Site              8000 sf
                                                                                                         Quality           Q4
                                                                                                         Age               54




                                                                                                           Water Heater Double Strapped




                                                                                                                             CO Detector




                                     Form LPICPIX.DSS LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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Borrower           Anahit Harutyunyan
Property Address   10366 Ormond St
City               Sunland                                        County Los Angeles                            State CA       Zip Code 91040
Lender/Client      Golden West Alliance Inc
                                                                                                                             Basement
                                                                                                         10366 Ormond St
                                                                                                         Sales Price
                                                                                                         Gross Living Area 2,404
                                                                                                         Total Rooms       4
                                                                                                         Total Bedrooms    2
                                                                                                         Total Bathrooms   2.0
                                                                                                         Location          N;Res;
                                                                                                         View              B;CtySky;Mtn
                                                                                                         Site              8000 sf
                                                                                                         Quality           Q4
                                                                                                         Age               54




                                                                                                                             Proposed Bedroom or Den




                                                                                                                             Basement




                                                                                                                             Proposed Bedroom or Den




                                                                                                                             Basement




                                                                                                                             Proposed Bath addition




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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA   Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                              9545 Hillrose St                                                                   9565 Dale Ave




                              9714 Rotta Ave                                                                10110 Sunland Blvd




                                             Form PICSIX2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA       Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                             COMPARABLE1
                                                                                                             9545 Hillrose St
                                                                                                             Prox. to Subject    1.82 miles NE
                                                                                                             Sale Price          1,060,000
                                                                                                             Borrower            3,330
                                                                                                             Lender/Client       6
                                                                                                             Total Bedrooms      3
                                                                                                             Total Bathrooms     2.1
                                                                                                             Location            N;Res;
                                                                                                             View                B;CtySky;Mtn
                                                                                                             Site                19381 sf
                                                                                                             Quality             Q4
                                                                                                             Age                 11




                                                                                                                                 MLS Photo




                                                                                                                        COMPARABLE 2
                                                                                                             10876 Wicks St
                                                                                                             Prox. to Subject    1.02 miles NW
                                                                                                             Sale Price          1,000,000
                                                                                                             Gross Living Area   2,927
                                                                                                             Total Rooms         7
                                                                                                             Total Bedrooms      4
                                                                                                             Total Bathrooms     3.0
                                                                                                             Location            N;Res;
                                                                                                             View                N;Res;
                                                                                                             Site                19920 sf
                                                                                                             Quality             Q4
                                                                                                             Age                 37




                                                                                                                        COMPARABLE 3
                                                                                                             9565 Dale Ave
                                                                                                             Prox. to Subject    0.20 miles NE
                                                                                                             Sale Price          820,000
                                                                                                             Gross Living Area   1,900
                                                                                                             Total Rooms         6
                                                                                                             Total Bedrooms      3
                                                                                                             Total Bathrooms     2.1
                                                                                                             Location            N;Res;
                                                                                                             View                B;CtySky;Mtn
                                                                                                             Site                12000 sf
                                                                                                             Quality             Q4
                                                                                                             Age                 89




                                                                                                                                 MLS Photo




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    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                             State CA       Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                             COMPARABLE4
                                                                                                             9714 Rotta Ave
                                                                                                             Prox. to Subject    0.42 miles NE
                                                                                                             Sale Price          740,000
                                                                                                             Borrower            1,519
                                                                                                             Lender/Client       4
                                                                                                             Total Bedrooms      2
                                                                                                             Total Bathrooms     2.0
                                                                                                             Location            N;Res;
                                                                                                             View                B;CtySky;Mtn
                                                                                                             Site                8000 sf
                                                                                                             Quality             Q4
                                                                                                             Age                 52




                                                                                                                                 MLS Photo




                                                                                                                        COMPARABLE 5
                                                                                                             10110 Sunland Blvd
                                                                                                             Prox. to Subject  1.55 miles NE
                                                                                                             Sale Price        800,000
                                                                                                             Gross Living Area 1,939
                                                                                                             Total Rooms       6
                                                                                                             Total Bedrooms    3
                                                                                                             Total Bathrooms   2.1
                                                                                                             Location          N;Res;
                                                                                                             View              B;LtdSght;Mtn
                                                                                                             Site              9000 sf
                                                                                                             Quality           Q4
                                                                                                             Age               25




                                                                                                                                 MLS Photo




                                                                                                                        COMPARABLE 6

                                                                                                             Prox. to Subject
                                                                                                             Sale Price
                                                                                                             Gross Living Area
                                                                                                             Total Rooms
                                                                                                             Total Bedrooms
                                                                                                             Total Bathrooms
                                                                                                             Location
                                                                                                             View
                                                                                                             Site
                                                                                                             Quality
                                                                                                             Age




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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                           State CA        Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                                                                                                        Rental 1
                                                                                                            10137 Wheatland Ave
                                                                                                            Proximity to Subject 0.97 miles N
                                                                                                            Adj. Monthly Rent 4,200
                                                                                                            Gross Living Area 2,795
                                                                                                            Total Rooms          5
                                                                                                            Total Bedrooms       3
                                                                                                            Total Bathrooms      2.0
                                                                                                            Location             N;Res;
                                                                                                            View                 B;CtySky;Mtn
                                                                                                            Condition            C4
                                                                                                            Age                  93




                                                                                                                               MLS Photo




                                                                                                                        Rental 2
                                                                                                            9818 Wheatland Ave
                                                                                                            Proximity to Subject 0.53 miles N
                                                                                                            Adj. Monthly Rent 4,500
                                                                                                            Gross Living Area 2,780
                                                                                                            Total Rooms          7
                                                                                                            Total Bedrooms       4
                                                                                                            Total Bathrooms      3.0
                                                                                                            Location             N;Res;
                                                                                                            View                 N;Res;
                                                                                                            Condition            C4
                                                                                                            Age                  61




                                                                                                                               MLS Photo




                                                                                                                        Rental 3
                                                                                                            10222 Horsehaven St
                                                                                                            Proximity to Subject 0.38 miles SE
                                                                                                            Adj. Monthly Rent 4,200
                                                                                                            Gross Living Area 2,457
                                                                                                            Total Rooms          7
                                                                                                            Total Bedrooms       4
                                                                                                            Total Bathrooms      3.0
                                                                                                            Location             N;Res;
                                                                                                            View                 N;Res;
                                                                                                            Condition            C3
                                                                                                            Age                  13




                                          Form DLSTRNT.DS$R - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:20-bk-15381-SK                                                               Doc 112 Filed 02/19/21 Entered 02/19/21 12:47:25                                                                                                    Desc
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                                                                                             Building Sketch
    Borrower                 Anahit Harutyunyan
    Property Address         10366 Ormond St
    City                     Sunland                                                                               County Los Angeles                                     State CA                 Zip Code 91040
    Lender/Client            Golden West Alliance Inc


                                                     Sketch is designed to visualize the property and is not an architectural draft report.




                                                                                                                                                             Basement
                         '
                        4
                     .4




                                                                                                                          Bath         Bedroom/Den
                    18




                                                      35                                                                                                                             30'
                                                           .1
                                                                5'
                                                                                                                          Under Construction
                                                                             Deck                                                                                               Retreat/Veranda
                                                                                                                        LAU                 20'
                                               Living Room
                                                                                                                        Steps                                           M. Bath
                                                                                                 34'
                                                                                                                          8'                                                                                  Second Floor




                                                                                                                                                                                                        30'
                                                                                                                                                                30'
                                4                                    Dining Area                                                                                                                               [900 Sq ft]
                                    0.
                                                                                                                                 25'




                                                                                                                                                       25'




                                         46                                                                                            2 Car Garage                                        M. Bedroom
                                           '                                                     Bath       Bedroom
                                                                                                                                         [500 Sq ft]                     W/CL
                                                                                       Kitchen

                                                                           Entry                        Hallway        Steps



                                                                                                 50'                                        20'                                      30'




     TOTAL Sketch by a la mode, inc.                                                                              Area Calculations Summary
     Living Area                                                                                                                                                      Calculation Details
     First Floor                                                                                                      1504.25 Sq ft                                                    0.5 × 28.8 × 14                       = 201.6
                                                                                                                                                                                       0.5 × 10.2 × 8.5                      = 43.35
                                                                                                                                                                                       0.5 × 10.13 × 8.5                     = 43.07
                                                                                                                                                                                       18.67 × 8.5                           = 158.66
                                                                                                                                                                                       0.5 × 20.87 × 17.5                    = 182.57
                                                                                                                                                                                       50 × 17.5                             =    875

     Second Floor                                                                                                      900 Sq ft                                                             30 × 30                         =    900

     Total Living Area (Rounded):                                                                                     2404 Sq ft
     Non-living Area
     2 Car Garage                                                                                                      500 Sq ft                                                             25 × 20                         =    500

     Deck                                                                                                              495.38 Sq ft                                                          0.5 × 8 × 9.6               =        38.4
                                                                                                                                                                                             23 × 8                      =         184
                                                                                                                                                                                             0.5 × (15.19 + 14.6) × 14.5 =         216
                                                                                                                                                                                             0.5 × 15.19 × 7.5           =       56.97

     Basement                                                                                                          396 Sq ft                                                             8 × 7.5                         =     60
                                                                                                                                                                                             28 × 12                         =    336




                                                                                   Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                        Plat Map
    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                       County Los Angeles                            State CA   Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                            Form MAP.PLAT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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    Borrower           Anahit Harutyunyan
    Property Address   10366 Ormond St
    City               Sunland                                      County Los Angeles                            State CA   Zip Code 91040
    Lender/Client      Golden West Alliance Inc




                                            Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                               UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                     (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

     Condition Ratings and Definitions

     C1
     The improvements have been very recently constructed and have not previously been occupied. The entire structure and all components are new
     and the dwelling features no physical depreciation.*


     *Note: Newly constructed improvements that feature recycled materials and/or components can be considered new dwellings provided that the
     dwelling is placed on a 100% new foundation and the recycled materials and the recycled components have been rehabilitated/re-manufactured
     into like-new condition. Recently constructed improvements that have not been previously occupied are not considered “new” if they have any
     significant physical depreciation (i.e., newly constructed dwellings that have been vacant for an extended period of time without adequate
     maintenance or upkeep).


     C2
     The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components
     are new or have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced
     with components that meet current standards. Dwellings in this category either are almost new or have been recently completely renovated and
     are similar in condition to new construction.

     C3
     The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every
     major building component, may be updated or recently rehabilitated. The structure has been well maintained.

     C4
     The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been
     adequately maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building
     components have been adequately maintained and are functionally adequate.

     C5
     The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs,
     rehabilitation, or updating. The functional utility and overall livability is somewhat diminished due to condition, but the dwelling remains
     useable and functional as a residence.

     C6
     The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety,
     soundness, or structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many
     or most major components.




     Quality Ratings and Definitions

     Q1
     Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such
     residences typically are constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship
     and exceptionally high-grade materials throughout the interior and exterior of the structure. The design features exceptionally high-quality
     exterior refinements and ornamentation, and exceptionally high-quality interior refinements. The workmanship, materials, and finishes
     throughout the dwelling are of exceptionally high quality.

     Q2
     Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in
     this quality grade are also found in high-quality tract developments featuring residence constructed from individual plans or from highly
     modified or upgraded plans. The design features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The
     workmanship, materials, and finishes throughout the dwelling are generally of high or very high quality.

     Q3
     Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard
     residential tract developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors
     that are well finished. The workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been
     upgraded from “stock” standards.

     Q4
     Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans
     are utilized and the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship,
     finish, and equipment are of stock or builder grade and may feature some upgrades.




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                                     (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

     Quality Ratings and Definitions (continued)

     Q5
     Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a
     plain design using readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation
     and limited interior detail. These dwellings meet minimum building codes and are constructed with inexpensive, stock materials
     with limited refinements and upgrades.

     Q6
     Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings
     are often built with simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or
     expanded by persons who are professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical
     systems and equipment may be minimal or non-existent. Older dwellings may feature one or more substandard or non-conforming additions
     to the original structure




     Definitions of Not Updated, Updated, and Remodeled

     Not Updated
                Little or no updating or modernization. This description includes, but is not limited to, new homes.
                Residential properties of fifteen years of age or less often reflect an original condition with no updating, if no major
                components have been replaced or updated. Those over fifteen years of age are also considered not updated if the
                appliances, fixtures, and finishes are predominantly dated. An area that is ‘Not Updated’ may still be well maintained
                and fully functional, and this rating does not necessarily imply deferred maintenance or physical/functional deterioration.

     Updated
                The area of the home has been modified to meet current market expectations. These modifications
                are limited in terms of both scope and cost.
                An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute
                updates include refurbishment and/or replacing components to meet existing market expectations. Updates do not
                include significant alterations to the existing structure.

     Remodeled
                Significant finish and/or structural changes have been made that increase utility and appeal through
                complete replacement and/or expansion.
                A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include
                some or all of the following: replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation
                of plumbing/gas fixtures/appliances, significant structural alterations (relocating walls, and/or the addition of)
                square footage). This would include a complete gutting and rebuild.




     Explanation of Bathroom Count

                Three-quarter baths are counted as a full bath in all cases. Quarter baths (baths that feature only a toilet) are not
                included in the bathroom count. The number of full and half baths is reported by separating the two values using a
                period, where the full bath count is represented to the left of the period and the half bath count is represented to the
                right of the period.


                Example:
                3.2 indicates three full baths and two half baths.




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     Abbreviations Used in Data Standardization Text

         Abbreviation                               Full Name                                       Fields Where This Abbreviation May Appear
      ac                    Acres                                                             Area, Site
      AdjPrk                Adjacent to Park                                                  Location
      AdjPwr                Adjacent to Power Lines                                           Location
      A                     Adverse                                                           Location & View
      ArmLth                Arms Length Sale                                                  Sale or Financing Concessions
      ba                    Bathroom(s)                                                       Basement & Finished Rooms Below Grade
      br                    Bedroom                                                           Basement & Finished Rooms Below Grade
      B                     Beneficial                                                        Location & View
      Cash                  Cash                                                              Sale or Financing Concessions
      CtySky                City View Skyline View                                            View
      CtyStr                City Street View                                                  View
      Comm                  Commercial Influence                                              Location
      c                     Contracted Date                                                   Date of Sale/Time
      Conv                  Conventional                                                      Sale or Financing Concessions
      CrtOrd                Court Ordered Sale                                                Sale or Financing Concessions
      DOM                   Days On Market                                                    Data Sources
      e                     Expiration Date                                                   Date of Sale/Time
      Estate                Estate Sale                                                       Sale or Financing Concessions
      FHA                   Federal Housing Authority                                         Sale or Financing Concessions
      GlfCse                Golf Course                                                       Location
      Glfvw                 Golf Course View                                                  View
      Ind                   Industrial                                                        Location & View
      in                    Interior Only Stairs                                              Basement & Finished Rooms Below Grade
      Lndfl                 Landfill                                                          Location
      LtdSght               Limited Sight                                                     View
      Listing               Listing                                                           Sale or Financing Concessions
      Mtn                   Mountain View                                                     View
      N                     Neutral                                                           Location & View
      NonArm                Non-Arms Length Sale                                              Sale or Financing Concessions
      BsyRd                 Busy Road                                                         Location
      o                     Other                                                             Basement & Finished Rooms Below Grade
      Prk                   Park View                                                         View
      Pstrl                 Pastoral View                                                     View
      PwrLn                 Power Lines                                                       View
      PubTrn                Public Transportation                                             Location
      rr                    Recreational (Rec) Room                                           Basement & Finished Rooms Below Grade
      Relo                  Relocation Sale                                                   Sale or Financing Concessions
      REO                   REO Sale                                                          Sale or Financing Concessions
      Res                   Residential                                                       Location & View
      RH                    USDA - Rural Housing                                              Sale or Financing Concessions
      s                     Settlement Date                                                   Date of Sale/Time
      Short                 Short Sale                                                        Sale or Financing Concessions
      sf                    Square Feet                                                       Area, Site, Basement
      sqm                   Square Meters                                                     Area, Site
      Unk                   Unknown                                                           Date of Sale/Time
      VA                    Veterans Administration                                           Sale or Financing Concessions
      w                     Withdrawn Date                                                    Date of Sale/Time
      wo                    Walk Out Basement                                                 Basement & Finished Rooms Below Grade
      wu                    Walk Up Basement                                                  Basement & Finished Rooms Below Grade
      WtrFr                 Water Frontage                                                    Location
      Wtr                   Water View                                                        View
      Woods                 Woods View                                                        View

     Other Appraiser-Defined Abbreviations

          Abbreviation                              Full Name                                     Fields Where This Abbreviation May Appear
      Av.                   Average                                                           Improvements
      CompShingle           Composition Shingle                                               Improvements
      Alum.Sliding          Aluminum Sliding                                                  Improvements




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  1          TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY

  2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, KATHY DOCKERY

  3 CHAPTER 13 TRUSTEE, DEBTOR, HER COUNSEL OF RECORD AND OTHER

  4 PARTIES IN INTEREST:

  5

  6          Pursuant to Rule 201 of the Federal Rules of Evidence, Creditor Grachuy Arutyunyan as

  7 trustee for Arutyunyan Living Trust hereby requests that the Court take judicial notice of the

  8 following facts and/or documents, the veracity of which are not the subject of any reasonable

  9
      dispute.
 10
             1.     A true and correct copy of the divorce case that was filed on August 3, 2020 is
 11

 12 attached hereto as Exhibit “1.”
        2. A true and correct copy of the complaint for forfeiture against the Debtor’s husband is
 13

 14 attached hereto as Exhibit “2.”

 15
      DATED: February 17, 2021               Respectfully submitted,
 16
                                             Havkin & Shrago
 17

 18
                                             By:
 19                                                Stella Havkin
                                                   Attorneys for Secured Creditor Grachuy
 20                                                Arutyunyan as trustee for Arutyunyan Living
                                                   Trust
 21

 22

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    5950 Canoga Avenue, Suite 400, Woodland Hills, CA 91367


A true and correct copy of the foregoing document entitled (specify): Supplemental Objection to Confirmation;
                                                                                                         _____________
 Declarations and Request for Judicial Notice
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
02/19/2021
____  ___________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
havkinlaw@earthlink.net; stella@havkinandshrago.com              ustpregion16.la.edf@usdoj.gov
efiling@CH13LA.com ecfcacb@aldridgepite.com, JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com
vahe@kglawapc.com lnussbaum@nussbaumapc.com, info@nussbaumapc.com


                                                                                              Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
            02/19/2021
On (date) ______  _________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.
Honorable Sandra R. Klein                                         Kathy Dockery
United States Bankruptcy Court                                    Chapter 13 Trustee
255 E. Temple Street                                              801 S. Figueroa St., #1850
Los Angeles, CA 90012                                             Los Angeles, CA 90017
                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

02/19/2021         Stella Havkin                                                               /s/ Stella Havkin
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
